       Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 1 of 51 PageID #: 5




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                                                                              1822-CC10769

                   IN THE CIRCUIT COURT OF THE CITY OF ST. LOUIS
                                STATE OF MISSOURI

 ANHEUSER BUSCH EMPLOYEE CREDIT
 UNION,

                        Plaintiff,

 vs.
                                                     Case No.
 TRAVELERS PROPERTY CASUALTY
 COMPANY OF AMERICA                                  Division:

 Serve at:
 CSC-Lawyers Incorporating Service Co.
 221 Bolivar Street
 Jefferson City, Missouri 65101

 AND

 THE CHARTER OAK FIRE INSURANCE
 COMPANY,

 Serve at:
 CSC-Lawyers Incorporating Service Co.
 221 Bolivar Street
 Jefferson City, Missouri 65101

                        Defendants.


                                           PETITION

       Plaintiff Anheuser Busch Employee Credit Union (“ABECU”), by and through its

counsel David E. Larson of Martin, Pringle, Oliver, Wallace & Bauer, L.L.P, files this Petition

against The Charter Oak Fire Insurance Company and Travelers Property Casualty Company of

America (jointly “Travelers”), stating its claims as follows:

                                        Statement of Case

   1. This is an action seeking judgment against Travelers for its bad faith breach of its duty to

defend and indemnify ABECU pursuant to the policy of insurance issued by Travelers.

                                                 1

                                                                                                     Exhibit 1
       Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 2 of 51 PageID #: 6




                                                                                                       Electronically Filed - City of St. Louis - July 16, 2018 - 01:06 PM
                               Allegations Common to All Claims

                                              Parties

   2. ABECU is organized as a credit union and exists under the laws of the State of Missouri

with its principal place of business at 1001 Lynch Street, St. Louis, Missouri 63118.

   3. Travelers Property Casualty Company of America is a foreign corporation in good

standing, registered to do business in the State of Missouri, with offices and agents in the City of

St. Louis for the purpose of conducting the usual and customary business of Travelers.

   4. The Charter Oak Fire Insurance Company is a foreign corporation in good standing,

registered to do business in the State of Missouri, with offices and agents in the City of St. Louis

for the purpose of conducting the usual and customary business of Charter Oak.

                                     Jurisdiction and Venue

   5. Venue is proper in this Court pursuant to Mo. Rev. Stat. 508.010.

   6. The court has personal jurisdiction over Travelers.

   7. ABECU’s claims against Travelers exceed $25,000 in value.

ABECU’s insurance policy from Travelers

   8. ABECU purchased and Travelers issued Commercial General Liability (“CGL”) and

Umbrella policies to ABECU on a yearly basis with policy periods of April 1, 2014 – April 1,

2015; April 1, 2015 – April 1, 2016, and April 1, 2016 – April 1, 2017 and Policy Nos. H-630-

3E389749-COF-16; HASM-CUP-3E389749-TIL-16; H-630-3E389749-COF-15; HASM-CUP-

3E389749-TIL-15; H-630-3E389749-COF-14; HASM-CUP-3E389749-TIL-14 (collectively “the

policy”).

   9. Each policy period included a $2 million limit of liability for coverage under the CGL

and an additional $5 million in coverage under the Umbrella.



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       Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 3 of 51 PageID #: 7




                                                                                                       Electronically Filed - City of St. Louis - July 16, 2018 - 01:06 PM
   10. In the policy, Travelers agreed to “pay those sums that [ABECU] becomes legally

obligated to pay as damages because of ‘personal and advertising injury’ to which this insurance

applied.” Travelers also agreed that it “will have the right and duty to defend [ABECU] against

any ‘suit’ seeking those damages.”

   11. In the policy, Travelers agreed to “pay those sums that the insured becomes legally

obligated to pay as damages because of ... ‘property damage’ to which this insurance applies.

Travelers also agreed that it “will have the right and duty to defend the insured against any ‘suit’

seeking those damages.

   12. The CGL policy provides insurance coverage for “personal and advertising injury.” In

relevant part, the CGL policy defines “personal and advertising injury” to include “oral or

written publication, in any manner, of material that slanders or libels a person....” The term is

defined almost identically in the Umbrella policy.

   13. Coverage under the “personal and advertising injury” section requires allegations against

the insured of oral or written publication of false material that slanders or libels.

   14. The term “publication” is not defined in the policy.

   15. The CGL policy also provides insurance coverage for “property damage” if it is caused

by an “occurrence” that takes place in the “coverage territory.”

   16. The policy defines “property damage” as including “loss of use of tangible property that

is not physically injured.”

Facts giving rise to class action claims against ABECU

   17. On July 29, 2015, ABECU filed suit against Daniel P. Wells (“Wells”) seeking a

deficiency judgment for a 2010 Toyota Corolla which ABECU had previously repossessed and

sold at auction.



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        Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 4 of 51 PageID #: 8




                                                                                                       Electronically Filed - City of St. Louis - July 16, 2018 - 01:06 PM
   18. Default judgment was entered against Wells in the amount of $6,000.00 on August 27,

2015.

   19. A motion to set aside the default judgment was filed on March 4, 2016, which the court

granted on March 22, 2016.

   20. Wells then filed an answer and counterclaim on March 14, 2016, which was thereafter

amended on May 5, 2016, to assert class action claims against ABECU on behalf of a nationwide

class and a Missouri sub-class of similarly situated claimants. A true and correct copy of the First

Amended Answer and Counterclaim, Case No. 1522-AC09263-01, filed in the Circuit Court of

the City of St. Louis, is attached hereto and incorporated herein by reference as Exhibit 1.

   21. The counterclaim alleges that ABECU failed to strictly comply with the Uniform

Commercial Code (“UCC”) and alleges an unlawful pattern of wrongdoing with respect to the

disposition of collateral by ABECU.

   22. The counterclaim also alleges that ABECU wrongfully accelerated consumer credit

contracts on loans made to Wells and other consumers and wrongfully repossessed their

collateral because it either failed to send the Right to Cure notice required by the UCC and

section 408.554 of the Missouri Revised Statutes or sent defective Right to Cure Notices before

repossession.

   23. Additionally, the counterclaim alleges that ABECU sent Wells and other consumers pre-

sale notices which did not comply with the UCC.

   24. The suit further alleged that when ABECU failed to include required information in the

notices relating to redemption and sale of repossessed vehicles, the class members lost the use of

their vehicles and were precluded from reclaiming their collateral before it was sold.




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       Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 5 of 51 PageID #: 9




                                                                                                   Electronically Filed - City of St. Louis - July 16, 2018 - 01:06 PM
   25. The counterclaim also sought damages for defamation (slander and libel) plus invasion of

privacy, harm to credit worthiness, standing, capacity, character, and reputation.

   26. The counterclaim alleged that ABECU published false, defamatory statements in its

attempt to collect a debt. Specifically, the suit alleged that ABECU reported derogatory

information regarding the class members to local consumer reporting agencies and the three

national consumer credit reporting agencies.

   27. Further, by sending the defective right to cure, presale and post-sale notices, and

reporting false or inaccurate derogatory information on the class members’ credit reports, the

class members suffered harm to their credit worthiness, credit standing, credit capacity,

character, and general reputation.

   28. The counterclaim sought class certification, actual and statutory damages, prejudgment

and post-judgment interest, punitive damages, costs and fees.

   29. There were no allegations in the counterclaim that ABECU knowingly violated the

UCC’s notice provision, knowingly sent out defective notices, or knowingly reported false

information to credit agencies as part of its collection efforts.

   30. The counterclaims against ABECU derive from acts that were negligently committed by

ABECU.

   31. While no reply was required for a general denial of the affirmative allegations made in

the counterclaim, the firm that ABECU hired to file the Wells collection action, Riezman Berger,

P.C., did not file a reply to the class action counterclaim.

   32. The failure to file a reply resulted in a waiver of any affirmative defenses that ABECU

may have otherwise asserted, such as the statute of limitations. However, the loss of these

defenses did not relieve Travelers of its duty to defend and indemnify ABECU; nor was



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      Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 6 of 51 PageID #: 10




                                                                                                   Electronically Filed - City of St. Louis - July 16, 2018 - 01:06 PM
Travelers prejudiced by the loss of ABECU’s affirmative defenses not covered by the general

denial.

Travelers’ denial of coverage and obligation to defend ABECU

   33. Notice of the counterclaim was first provided to Travelers on September 29, 2017.

   34. ABECU made demand on Travelers to defend the counterclaims and indemnify ABECU

from any resultant damages.

   35. On November 10, 2017, Travelers issued an initial reservation of rights letter which

accepted the duty to defend but denied coverage for the duty to indemnify.

   36. However, Travelers has refused to provide a defense or reimburse ABECU for its defense

costs and continues to deny coverage for its contractual share of the settlement entered into by

ABECU in the Wells class action. Travelers’ failure to satisfy its contractual obligations was

unreasonable and constituted a bad faith denial of coverage.

   37. Travelers’ refusal to defend and indemnify ABECU was vexatious and without

reasonable cause.

   38. Under Missouri law, Travelers should be limited to the coverage defenses raised in its

November 10, 2017 denial letter. A true and correct copy of the Travelers’ November 10, 2017

denial letter is attached and incorporated as Exhibit 2.

   39. The class claimants claimed damages based on or equivalent to the amounts calculable

under UCC § 9-625(c), in an amount that exceeded ABECU’s policy limits.

   40. The class claimants also sought discharge of deficiency amounts owed on the obligations

to ABECU that exceeded ABECU’s policy limits.




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      Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 7 of 51 PageID #: 11




                                                                                                       Electronically Filed - City of St. Louis - July 16, 2018 - 01:06 PM
    41. Because Travelers denied coverage, ABECU was forced to pay for its own defense of the

Wells class action. ABECU was faced with the burden of paying the litigation expenses to

defend itself through trial.

    42. Additionally, ABECU recognized its considerable financial exposure to the damages

sought by the class claimants, and it knew that Travelers refused to indemnify it for those alleged

damages.

    43. As a direct result of the litigation expenses already incurred, the additional defense costs

anticipated through trial, and the exposure ABECU faced from the class action claims, ABECU

elected to engage in settlement discussions with the class claimants.

    44. After multiple mediations, a settlement agreement was reached between ABECU and the

class claimants.

    45. The proposed settlement relies upon ABECU’s payment of a settlement amount to be

distributed among class members based on the amount of their UCC § 9-625 damage

calculations in addition to the forgiveness of loan deficiency amounts owed to ABECU by the

class claimants.

    46. The settlement received final court approval on July 10, 2018, which includes findings

defining the class to which the settlement applies.

    47. Despite the settlement, there may be additional borrowers whose potential claims are not

resolved by the settlement. Accordingly, these additional borrowers could still bring claims

against ABECU.

    48. On May 29, 2018, ABECU again demanded that Travelers defend and indemnify it to the

full extent of its contractual obligations. Again, Travelers refused. Travelers’ refusal was without

reasonable cause or excuse.



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         Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 8 of 51 PageID #: 12




                                                                                                       Electronically Filed - City of St. Louis - July 16, 2018 - 01:06 PM
                                  Count I – Breach of Contract

   49. Plaintiff incorporates Paragraphs 1 through 52 above as if fully set forth herein.

   50. Travelers issued insurance policies to ABECU for the policy periods of April 1, 2014 –

April 1, 2015; April 1, 2015 – April 1, 2016, and April 1, 2016 – April 1, 2017.

   51. ABECU paid the insurance premiums to Travelers for each respective policy period.

   52. The policy required Travelers to defend and indemnify ABECU for the claims made by

the counterclaim class plaintiffs under the policy’s coverages for “personal and advertising

injury” and “property damage.”

   53. The counterclaims asserted claims for damages for “personal and advertising injury” and

“property damage” against ABECU.

   54. ABECU demanded that Travelers defend and indemnify it under the policy.

   55. Travelers indicated that it would provide a defense to ABECU but failed to do so. And,

Travelers failed to indemnify ABECU, affirmatively denying coverage to ABECU for the same.

   56. Travelers failure to defend and indemnify ABECU on the claims in question constituted a

breach of contract.

   57. Travelers is liable to ABECU for attorneys’ fees and costs incurred in defending the

Wells Litigation, for attorney’s fees and costs incurred in its pursuit of coverage against

Travelers, and for monetary damages and forfeited deficiencies attributable to Travelers’ policy

years.

   WHEREFORE, ABECU prays for judgment against Travelers and Charter Oak for damages

in excess of $25,000, plus interest, costs, attorney’s fees and penalties for the breach of contract

and any other or further relief as the Court deems just and equitable.




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      Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 9 of 51 PageID #: 13




                                                                                                       Electronically Filed - City of St. Louis - July 16, 2018 - 01:06 PM
                    Count II – Bad Faith Refusal to Defend and Indemnify

   58. Plaintiff incorporates Paragraphs 1 through 60 above as if fully set forth herein.

   59. Missouri law, and in particular Mo. Rev. Stat. §§375.296 and 375.420, imposes liability

upon insurance carriers if the carrier has failed or refused for a period of 30 days after due

demand therefor prior to the institution of the action, to make payment under in accordance with

the terms and provisions of the contract of insurance. The law further provides, inter alia, that if

the refusal to pay was vexatious and without reasonable cause, the carrier is liable for attorney’s

fees and may be liable for additional penalties.

   60. Travelers issued or delivered in Missouri an insurance contract to ABECU.

   61. ABECU made demand upon Travelers to defend and indemnify it under and in

accordance with the terms and provision of the contract of insurance.

   62. The demand was made upon Travelers more than 30 days before the filing of this action.

   63. Travelers failed and refused to defend, indemnify, or otherwise pay ABECU.

   64. Travelers failure and refusal was vexatious and without reasonable cause.

   WHEREFORE, ABECU prays for judgment against Travelers and Charter Oak for damages

in excess of $25,000, plus interest, costs, attorney’s fees and penalties pursuant to Mo. Rev. Stat.

375.296 and Mo. Rev. Stat. 375.420 and any other or further relief as the Court deems just and

equitable.




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Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 10 of 51 PageID #: 14




                                                                                  Electronically Filed - City of St. Louis - July 16, 2018 - 01:06 PM
                              Respectfully submitted:

                              MARTIN, PRINGLE, OLIVER,
                                WALLACE & BAUER, L.L.P.


                              By: /s/ David E. Larson
                              David E. Larson, MO #27146
                              One Main Plaza
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                              (816) 502-7898 fax
                              delarson@martinpringle.com
                              Attorney for Plaintiff




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      Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 11 of 51 PageID #: 15




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       ïò      Ì¸·­ ·­ ¿ ½±²­«³»® ½´¿­­ ¿½¬·±² ¿¹¿·²­¬ ß²¸»«­»®óÞ«­½¸ Û³°´±§»»­ Ý®»¼·¬ Ë²·±²

øßÞ Ý®»¼·¬ Ë²·±²÷ô ¿²¼ ·¬­ °®»¼»½»­­±®­ ±® ­«½½»­­±®­ô ­»»µ·²¹ ®»´·»º ¬± ®»¼®»­­ ¿² «²´¿©º«´ ¿²¼

¼»½»°¬·ª» °¿¬¬»®² ±º ©®±²¹¼±·²¹ º±´´±©»¼ ¾§ ßÞ Ý®»¼·¬ Ë²·±² ®»¹¿®¼·²¹ ½±´´»½¬·±² ø·²½´«¼·²¹

½±´´»½¬·±² ±º ¿´´»¹»¼ ¼»º·½·»²½·»­÷ô »²º±®½»³»²¬ô ®»°±­­»­­·±² ¿²¼ ¼·­°±­·¬·±² ±º ½±´´¿¬»®¿´ò

       îò      ßÞ Ý®»¼·¬ Ë²·±² ©®±²¹º«´´§ ¿½½»´»®¿¬»¼ ½±²­«³»® ½®»¼·¬ ½±²¬®¿½¬­ ±² ´±¿²­ ³¿¼»

¬± É»´´­ ¿²¼ ³¿²§ ±¬¸»® Ó·­­±«®· ½±²­«³»®­ ¿²¼ ©®±²¹º«´´§ ®»°±­­»­­»¼ ¬¸»·® ½±´´¿¬»®¿´ ¾»½¿«­»

ßÞ Ý®»¼·¬ Ë²·±² »·¬¸»® º¿·´»¼ ¬± ­»²¼ ¬¸» ®·¹¸¬ ¬± ½«®» ²±¬·½» ®»¯«·®»¼ ¾§ ÎÍÓ± y ìðèòëëì øÎ·¹¸¬

¬± Ý«®» Ò±¬·½»­÷ ±® ­»²¬ ¼»º»½¬·ª» Î·¹¸¬ ¬± Ý«®» Ò±¬·½»­ ¾»º±®» ®»°±­­»­­·±²ò




                                                   í
     Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 14 of 51 PageID #: 18




                                                                                                                           Û´»½¬®±²·½¿´´§
                                                                                                                           Electronically Ú·´»¼
                                                                                                                                          Filed ó- Ý·¬§
         íò       ßÞ Ý®»¼·¬ Ë²·±² ­»²¬ É»´´­ ¿²¼ ³¿²§ ±¬¸»® ½±²­«³»®­ ¿ °®»­¿´» ²±¬·½»ô ©¸·½¸ ¼·¼




                                                                                                                                                   City of
²±¬ ½±³°´§ ©·¬¸ ¬¸» Ë²·º±®³ Ý±³³»®½·¿´ Ý±¼» øËÝÝ÷ ¿¼±°¬»¼ ¾§ »¿½¸ ­¬¿¬»òï Ì¸» °®»­¿´»




                                                                                                                                                        ±º Í¬ò
                                                                                                                                                           St. Ô±«·­
²±¬·½» ­»²¬ ¬± É»´´­ ·­ ¿¬¬¿½¸»¼ ¿­ Û¨¸·¾·¬ î ¬± Ð´¿·²¬·ºº­ Ð»¬·¬·±² øÐ®»­¿´» Ò±¬·½»÷ò




                                                                                                                                                               Louis ó- Ó¿§
         ìò       ßÞ Ý®»¼·¬ Ë²·±² ­»²¬ É»´´­ ¿²¼ ²«³»®±«­ ±¬¸»® ½±²­«³»®­ ¿ °±­¬ó­¿´» ²±¬·½»ô




                                                                                                                                                                        July 16,
©¸·½¸ ¼·¼ ²±¬ ½±³°´§ ©·¬¸ ¬¸» ËÝÝò Ì¸» °±­¬ó­¿´» ²±¬·½» ­»²¬ ¬± É»´´­ ·­ ¿¬¬¿½¸»¼ ¿­ Û¨¸·¾·¬ í ¬±




                                                                                                                                                                             ðëô 2018
                                                                                                                                                                                 îðïê -ó 01:06
Ð´¿·²¬·ºº­ Ð»¬·¬·±² øÐ±­¬ó­¿´» Ò±¬·½»÷ò

         ëò       É»´´­ ­«»­ º±® ¸·³­»´º ¿²¼ ¿´´ ±¬¸»® ­·³·´¿®´§ ­·¬«¿¬»¼ ½±²­«³»®­ò Ì¸»§ ­»»µ ¿½¬«¿´




                                                                                                                                                                                         ðíæðë PM
¼¿³¿¹»­ ²±¬ ´»­­ ¬¸¿² ¬¸» ­¬¿¬«¬±®§ ³·²·³«³ °®±ª·¼»¼ º±® «²¼»® ¬¸» ËÝÝô ¿²¼ ­«½¸ ±¬¸»® º«®¬¸»®




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®»´·»º ¿­ ¬¸·­ Ý±«®¬ ³¿§ ¼»»³ ¿°°®±°®·¿¬»ò

                                                      Ð¿®¬·»­
         ïò       É»´´­ ·­ ¿ ®»­·¼»²¬ ±º Í¬ò Ô±«·­ Ý·¬§ô Ó·­­±«®·ò

         îò       ßÞ Ý®»¼·¬ Ë²·±² ·­ ¿ Ó·­­±«®· ½¸¿®¬»®»¼ ½®»¼·¬ «²·±² ¬¸¿¬ ¼±»­ ¾«­·²»­­ ·² Í¬ò Ô±«·­

Ý·¬§ô Ó·­­±«®·ò ß³»®·½¿² Û¿¹´» Ý®»¼·¬ Ë²·±² ·­ ¿ ¼·ª·­·±² ±º ßÞ Ý®»¼·¬ Ë²·±² ¿²¼ ßÞ Ý®»¼·¬

Ë²·±² ­±³»¬·³»­ ¼±»­ ¾«­·²»­­ ¿­ ß³»®·½¿² Û¿¹´» Ý®»¼·¬ Ë²·±²ò

         íò       Î»º»®»²½»­ ¬± ßÞ Ý®»¼·¬ Ë²·±² ·²½´«¼» ß²¸»«­»®óÞ«­½¸ Û³°´±§»»­ Ý®»¼·¬ Ë²·±²ô

ß³»®·½¿² Û¿¹´» Ý®»¼·¬ Ë²·±²ô ¬¸»·® °®»¼»½»­­±®­ô ­«½½»­­±®­ô ¿²¼ ¿²§ »²¬·¬§ô °»®­±² ±® ²¿³» «²¼»®

©¸·½¸ ßÞ Ý®»¼·¬ Ë²·±² ¼±»­ ¾«­·²»­­ò

         ìò       ßÞ Ý®»¼·¬ Ë²·±² ·­ »²¹¿¹»¼ ·² ¬¸» ¾«­·²»­­ ±º °»®­±²¿´ º·²¿²½»ò

         ëò       ß´´ ¿´´»¹¿¬·±²­ ±º ¿½¬­ ±® ±³·­­·±²­ ¾§ ßÞ Ý®»¼·¬ Ë²·±² ·²½´«¼»ô ¾«¬ ¿®» ²±¬ ´·³·¬»¼

¬±ô ¿½¬­ ¿²¼ ±³·­­·±²­ ±º ßÞ Ý®»¼·¬ Ë²·±²­ ±ºº·½»®­ô ¼·®»½¬±®­ô ±°»®¿¬±®­ô ³¿²¿¹»®­ô ­«°»®ª·­±®­ô



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    É»´´­ ½·¬» ¬± ¬¸» ­»½¬·±²­ ±º ¬¸» ±ºº·½·¿´ ¬»¨¬ ±º ¬¸» ËÝÝò Ì¸» ­»½¬·±²­ ±º ¬¸» ËÝÝ ½·¬»¼ ¾§ É»´´­ ¸¿ª» ¾»»²
¿¼±°¬»¼ ¾§ ¿´´ ëð ­¬¿¬»­ ©·¬¸ ²± ³¿¬»®·¿´ ª¿®·¿¬·±² ¬¸¿¬ ©±«´¼ ¿ºº»½¬ ¬¸» ½´¿·³­ ±º ¬¸» °«¬¿¬·ª» ½´¿­­ ³»³¾»®­ô
®»¹¿®¼´»­­ ±º ©¸»®» ¬¸» °«¬¿¬·ª» ½´¿­­ ³»³¾»® ®»­·¼»­ô ¬¸» ´±¿² ±®·¹·²¿¬»¼ô ±® ¬¸» ®»°±­­»­­·±² ¬±±µ °´¿½»ò ß®¬·½´» ç ±º
¬¸» ËÝÝ ¸¿­ ¾»»² ¿¼±°¬»¼ ·² Ó·­­±«®· ¿¬ y ìððòçóïðïô »¬ ­»¯ò Ó·­­±«®·­ ­¬¿¬«¬±®§ ­½¸»³» º±® ·¬­ ª»®­·±² ±º ¬¸» ËÝÝ
¿¼¼­ ¬¸» °®»º·¨ ±º ìðð ¬± ¬¸» ËÝÝ ²«³¾»®·²¹ ­½¸»³»ò Ú±® »¨¿³°´»ô y çóêïì ±º ¬¸» ËÝÝ ·­ ¼»²±³·²¿¬»¼ y ìððòçóêïì
·² Ó·­­±«®·­ ­¬¿¬«¬»­ò




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    Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 15 of 51 PageID #: 19




                                                                                                         Û´»½¬®±²·½¿´´§
                                                                                                         Electronically Ú·´»¼
                                                                                                                        Filed ó- Ý·¬§
»³°´±§»»­ô ¿ºº·´·¿¬»­ô ­«¾­·¼·¿®·»­ô ª·½»ó°®·²½·°¿´­ô °¿®¬²»®­ô ¿¹»²¬­ô ­»®ª¿²¬­ô ¿²¼ ±©²»®­å ¿²¼ ¬¸¿¬




                                                                                                                                 City of
­«½¸ ¿½¬­ ¿²¼ ±³·­­·±²­ ©»®» ³¿¼» ©·¬¸ ßÞ Ý®»¼·¬ Ë²·±²­ »¨°®»­­ ¿²¼ñ±® ·³°´·»¼ ¿«¬¸±®·¬§ô ±®




                                                                                                                                      ±º Í¬ò
                                                                                                                                         St. Ô±«·­
©»®» ®¿¬·º·»¼ ±® ±¬¸»®©·­» ¿°°®±ª»¼ ¾§ ßÞ Ý®»¼·¬ Ë²·±²å ±® ¬¸¿¬ ­«½¸ ¿½¬­ ±® ±³·­­·±²­ ©»®» ³¿¼»




                                                                                                                                             Louis ó- Ó¿§
·² ¬¸» ®±«¬·²» ²±®³¿´ ½±«®­» ¿²¼ ­½±°» ±º ¬¸»·® ¿¹»²½§ ¿²¼ »³°´±§³»²¬ ¿­ ßÞ Ý®»¼·¬ Ë²·±²­




                                                                                                                                                      July 16,
±ºº·½»®­ô ¼·®»½¬±®­ô ±°»®¿¬±®­ô ³¿²¿¹»®­ô ­«°»®ª·­±®­ô »³°´±§»»­ô ¿ºº·´·¿¬»­ô ­«¾­·¼·¿®·»­ô ª·½»ó




                                                                                                                                                           ðëô 2018
                                                                                                                                                               îðïê -ó 01:06
°®·²½·°¿´­ô °¿®¬²»®­ô ¿¹»²¬­ô ­»®ª¿²¬­ô ¿²¼ ±©²»®­ò

                                     Ö«®·­¼·½¬·±² ¿²¼ Ê»²«»




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       êò       Ì¸·­ ³¿¬¬»® ·­ ¿ ½·ª·´ ³¿¬¬»®ô ­± ¬¸·­ Ý±«®¬ ¸¿­ ¶«®·­¼·½¬·±²ò




                                                                                                                                                                             ÐÓ
       éò       Ê»²«» ·­ °®±°»® ·² ¬¸·­ Ý±«®¬ «²¼»® y ëðèòðïð ¾»½¿«­» É»´´­ ·­ ¿ ®»­·¼»²¬ ±º Í¬ò

Ô±«·­ Ý·¬§ô Ó·­­±«®·ò Ê»²«» ·­ ¿´­± °®±°»® ·² ¬¸·­ Ý±«®¬ «²¼»® Î«´» ëëòíî ¾»½¿«­» É»´´­ ·­

½±«²¬»®½´¿·³·²¹ ±² ßÞ Ý®»¼·¬ Ë²·±²­ Ð»¬·¬·±² ±®·¹·²¿´´§ ¾®±«¹¸¬ ·² ¬¸·­ Ý±«®¬ò

                                       Ù»²»®¿´ ß´´»¹¿¬·±²­
       èò       É»´´­ ­·¹²»¼ ¿ ½±²­«³»® ½®»¼·¬ ½±²¬®¿½¬ º±® ¬¸» °«®½¸¿­» ±º ¿ îðïð Ì±§±¬¿ Ý±®±´´¿

øÐ®±°»®¬§÷ò

       çò       Ì¸» Ð®±°»®¬§ ©¿­ ¾±«¹¸¬ º±® «­» °®·³¿®·´§ º±® °»®­±²¿´ô º¿³·´§ ±® ¸±«­»¸±´¼

°«®°±­»­ò

       ïðò      Ì¸» ½±²­«³»® ½®»¼·¬ ½±²¬®¿½¬ ©¿­ º±® ¬¸» ­¿´» ±º ¿ ³±¬±® ª»¸·½´» ¾§ ¿ ®»¬¿·´ ­»´´»®

¬± ¿ ®»¬¿·´ ¾«§»® ±² ¬·³» «²¼»® ¿ ®»¬¿·´ ·²­¬¿´´³»²¬ ½±²¬®¿½¬ º±® ¿ ¬·³» ­¿´» °®·½» °¿§¿¾´» ·² ±²» ±®

³±®» ¼»º»®®»¼ ·²­¬¿´´³»²¬­

       ïïò      É»´´­ ¿²¼ »¿½¸ ½´¿­­ ³»³¾»® ©»®» ¼»¾¬±®­ ±® ±¾´·¹±®­ ·² ¿ ½±²­«³»®ó¹±±¼­

¬®¿²­¿½¬·±² ¿­ ¬¸±­» ¬»®³­ ¿®» ¼»º·²»¼ «²¼»® ¬¸» ËÝÝò

       ïîò      ßÞ Ý®»¼·¬ Ë²·±² ¿½½»´»®¿¬»¼ ¬¸» ¾¿´¿²½» ¼«» ±² É»´´­ ½±²­«³»® ½®»¼·¬ ½±²¬®¿½¬

©·¬¸±«¬ ¹·ª·²¹ ¬¸» ®»¯«·®»¼ Î·¹¸¬ ¬± Ý«®» Ò±¬·½»­ò




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    Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 16 of 51 PageID #: 20




                                                                                                           Û´»½¬®±²·½¿´´§
                                                                                                           Electronically Ú·´»¼
                                                                                                                          Filed ó- Ý·¬§
       ïíò      ßÞ Ý®»¼·¬ Ë²·±² ±® ­±³»±²» ¿¬ ßÞ Ý®»¼·¬ Ë²·±²­ ¼·®»½¬·±² ®»°±­­»­­»¼ ¬¸»




                                                                                                                                   City of
Ð®±°»®¬§ ©·¬¸±«¬ ¹·ª·²¹ ¬¸» ®»¯«·®»¼ Î·¹¸¬ ¬± Ý«®» Ò±¬·½»­ò




                                                                                                                                        ±º Í¬ò
                                                                                                                                           St. Ô±«·­
       ïìò      ßÞ Ý®»¼·¬ Ë²·±² ²»ª»® ±¾¬¿·²»¼ É»´´­ ©®·¬¬»² ½±²­»²¬ ¬± ®»°±­­»­­ ¬¸» Ð®±°»®¬§ò




                                                                                                                                               Louis ó- Ó¿§
       ïëò      ßÞ Ý®»¼·¬ Ë²·±² ²»ª»® ±¾¬¿·²»¼ ¬¸» ©®·¬¬»² ½±²­»²¬ º®±³ ¬¸» ³»³¾»®­ ±º ¬¸»




                                                                                                                                                        July 16,
Ó·­­±«®· Í«¾½´¿­­ ø¼»º·²»¼ ¾»´±©÷ ¬± ®»°±­­»­­ ¬¸»·® °®±°»®¬§ò




                                                                                                                                                             ðëô 2018
                                                                                                                                                                 îðïê -ó 01:06
       ïêò      É»´´­ ¼·¼ ²±¬ ª±´«²¬¿®·´§ ­«®®»²¼»® ¬¸» Ð®±°»®¬§ò

       ïéò      Ì¸» ³»³¾»®­ ±º ¬¸» Ó·­­±«®· Í«¾½´¿­­ ¼·¼ ²±¬ ª±´«²¬¿®·´§ ­«®®»²¼»® ¬¸»·® °®±°»®¬§ò




                                                                                                                                                                         ðíæðë PM
       ïèò      Ë²¼»® ÎÍÓ± y ìðèòëëëô ßÞ Ý®»¼·¬ Ë²·±² ©®±²¹º«´´§ ¿½½»´»®¿¬»¼ É»´´­ ¿²¼ ¬¸»




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Ó·­­±«®· Í«¾½´¿­­­ ½±²­«³»® ½®»¼·¬ ½±²¬®¿½¬­ ¾§ º¿·´·²¹ ¬± ¹·ª» ¬¸» ®»¯«·®»¼ Î·¹¸¬ ¬± Ý«®» Ò±¬·½»­

¾»º±®» ¿½½»´»®¿¬·±²ò

       ïçò      Ë²¼»® ÎÍÓ± y ìðèòëëëô ßÞ Ý®»¼·¬ Ë²·±² ©®±²¹º«´´§ ®»°±­­»­­»¼ É»´´­ ¿²¼ ¬¸»

Ó·­­±«®· Í«¾½´¿­­­ °®±°»®¬§ ¾§ º¿·´·²¹ ¬± ¹·ª» ¬¸» ®»¯«·®»¼ Î·¹¸¬ ¬± Ý«®» Ò±¬·½»­ ¾»º±®»

®»°±­­»­­·±²ò

       îðò      ßº¬»® ®»°±­­»­­·²¹ ¬¸» Ð®±°»®¬§ô ßÞ Ý®»¼·¬ Ë²·±² ±® ­±³»±²» ¿¬ ßÞ Ý®»¼·¬ Ë²·±²­

¼·®»½¬·±² ­»²¬ ¬¸» Ð®»­¿´» Ò±¬·½» ¬± É»´´­ô ¿¼ª·­·²¹ ±º ßÞ Ý®»¼·¬ Ë²·±²­ ·²¬»²¬ ¬± ¼·­°±­» ±º ¬¸»

Ð®±°»®¬§ ·² °«®°±®¬»¼ ½±³°´·¿²½» ©·¬¸ ¬¸» ËÝÝò

       îïò      Ì¸» Ð®»­¿´» Ò±¬·½» ­»²¬ ¬± É»´´­ ¿²¼ ¬¸» °®»­¿´» ²±¬·½»­ ­»²¬ ¬± ¬¸» Ý´¿­­ ø¼»º·²»¼

¾»´±©÷ ©»®» ²±¬ ®»¿­±²¿¾´» ¿­ ®»¯«·®»¼ ¾§ y çóêïïø¾÷ º±® ±²» ±® ¿´´ ±º ¬¸» º±´´±©·²¹ ®»¿­±²­æ

             ¿ò Ì¸» °®»­¿´» ²±¬·½» ³·­­¬¿¬»¼ ¬¸» ·²¬»²¼»¼ ³»¬¸±¼ ±º ¼·­°±­·¬·±² ®»¯«·®»¼ ¾§

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                                                                                                          Û´»½¬®±²·½¿´´§
                                                                                                          Electronically Ú·´»¼
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             ½ò Ì¸» °®»­¿´» ²±¬·½» ³·­­¬¿¬»¼ ¬¸» ¼¿¬» ±º ­¿´»ò




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             ¼ò Ì¸» °®»­¿´» ²±¬·½» º¿·´»¼ ¬± °®±ª·¼» ¿ ¼»­½®·°¬·±² ±º ¿²§ ´·¿¾·´·¬§ º±® ¿ ¼»º·½·»²½§ ±º




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                                                                                                                                          St. Ô±«·­
                ¬¸» °»®­±² ¬± ©¸·½¸ ¬¸» ²±¬·º·½¿¬·±² ·­ ­»²¬ ¿­ ®»¯«·®»¼ ¾§ ­»½¬·±²­ ìððòçóêïìøï÷øÞ÷ò




                                                                                                                                              Louis ó- Ó¿§
             »ò Ì¸» °®»­¿´» ²±¬·½» º¿·´»¼ ¬± °®±ª·¼» ¿ ¬»´»°¸±²» ²«³¾»® º®±³ ©¸·½¸ ¬¸» ¿³±«²¬




                                                                                                                                                       July 16,
                ¬¸¿¬ ³«­¬ ¾» °¿·¼ ¬± ¬¸» ­»½«®»¼ °¿®¬§ ¬± ®»¼»»³ ¬¸» ½±´´¿¬»®¿´ «²¼»® ­»½¬·±² ìððòçó




                                                                                                                                                            ðëô 2018
                                                                                                                                                                îðïê -ó 01:06
                êîí ·­ ¿ª¿·´¿¾´» ¿­ ®»¯«·®»¼ ¾§ ­»½¬·±²­ ìððòçóêïìøï÷øÝ÷ò

             ºò Ì¸» °®»­¿´» ²±¬·½» º¿·´»¼ ¬± °®±ª·¼» ¿ ¬»´»°¸±²» ²«³¾»® ±® ³¿·´·²¹ ¿¼¼®»­­ º®±³




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                ©¸·½¸ ¿¼¼·¬·±²¿´ ·²º±®³¿¬·±² ½±²½»®²·²¹ ¬¸» ¼·­°±­·¬·±² ¿²¼ ¬¸» ±¾´·¹¿¬·±² ­»½«®»¼




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                ·­ ¿ª¿·´¿¾´» ¿­ ®»¯«·®»¼ ¾§ ­»½¬·±²­ ìððòçóêïìøï÷øÜ÷ò

             ¹ò Ì¸» °®»­¿´» ²±¬·½» º¿·´»¼ ¬± ²±¬·º§ ¬¸» ¼»¾¬±® ±º ¸·­ ®·¹¸¬ ¬± ±¾¬¿·² ¿¼¼·¬·±²¿´

                ·²º±®³¿¬·±² ½±²½»®²·²¹ ¬¸» ¼·­°±­·¬·±² ¿²¼ ¬¸» ±¾´·¹¿¬·±² ­»½«®»¼ ¿­ ®»¯«·®»¼ ¾§

                ­»½¬·±²­ ìððòçóêïìøï÷øÜ÷ò

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       îîò      Ì¸» Ð®»­¿´» Ò±¬·½» ­»²¬ ¬± É»´´­ ¿²¼ ¬¸» °®»­¿´» ²±¬·½»­ ­»²¬ ¬± ¬¸» Ó·­­±«®·

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¬¸»§ ©»®» ³·­´»¿¼·²¹ ±® ±¬¸»®©·­» «²®»¿­±²¿¾´» º±® ±²» ±® ¿´´ ±º ¬¸» º±´´±©·²¹ ®»¿­±²­æ

             ¿ò Ì¸» °®»­¿´» ²±¬·½» ³·­­¬¿¬»¼ ¬¸» °¿§±ºº ¾¿´¿²½» ¾§ ·²½´«¼·²¹ ©®±²¹º«´´§

                ¿½½»´»®¿¬»¼ ¿³±«²¬­ò

             ¾ò Ì¸» °®»­¿´» ²±¬·½» ³·­­¬¿¬»¼ ¬¸¿¬ ¬¸» °¿§±ºº ¾¿´¿²½» ©±«´¼ ¿½½®«» ·²¬»®»­¬ º®±³ ¬¸»

                ¼¿¬» ±º ¬¸» ²±¬·½» «²¬·´ ®»¼»³°¬·±² ±® ­¿´»ò

             ½ò Ì¸» °®»­¿´» ²±¬·½» ³·­­¬¿¬»¼ ¬¸¿¬ ·² ±®¼»® º±® ¼»¾¬±® ¬± ®»¼»»³ ¬¸» ¼»¾¬±® ¸¿¼ ¬±

                ¸¿ª» ¿´´ ±¬¸»® ¿½½±«²¬­ ©·¬¸ ßÞ Ý®»¼·¬ Ë²·±² ·² ¹±±¼ ­¬¿²¼·²¹ò




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    Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 18 of 51 PageID #: 22




                                                                                                        Û´»½¬®±²·½¿´´§
                                                                                                        Electronically Ú·´»¼
                                                                                                                       Filed ó- Ý·¬§
             ¼ò Ì¸» °®»­¿´» ²±¬·½» ³·­­¬¿¬»¼ ¬¸¿¬ º±® ¬¸» ¼»¾¬±® ¬± ®»¼»»³ ¬¸» ½±´´¿¬»®¿´ ¬¸» ¼»¾¬±®




                                                                                                                                City of
                ¸¿¼ ¬± °¿§ ¬¸» °¿§±ºº ¾¿´¿²½» ¿²¼ ®»°±­­»­­·±² ½±­¬­ò




                                                                                                                                     ±º Í¬ò
                                                                                                                                        St. Ô±«·­
             »ò É»´´­ ¿²¼ ¬¸» Ó·­­±«®· Í«¾½´¿­­ ©»®» ²±¬ ®»­°±²­·¾´» º±® ¿ ¼»º·½·»²½§ ·º ¬¸» °¿§±ºº




                                                                                                                                            Louis ó- Ó¿§
                ¾¿´¿²½» ±² ¬¸» ½±²­«³»® ½®»¼·¬ ½±²¬®¿½¬ °´«­ ½±­¬­ ¿´´±©»¼ ©¿­ ¹®»¿¬»® ¬¸¿² ¬¸»




                                                                                                                                                     July 16,
                °®±½»»¼­ º®±³ ¬¸» ­¿´» ±º ¬¸» °®±°»®¬§ ¾»½¿«­» ¬¸» °¿§±ºº ¾¿´¿²½» ©±«´¼ ¸¿ª»




                                                                                                                                                          ðëô 2018
                                                                                                                                                              îðïê -ó 01:06
                ©®±²¹º«´´§ ·²½´«¼»¼ ¿½½»´»®¿¬»¼ ¿³±«²¬­ô ·³°®±°»® ·²¬»®»­¬ ¿²¼ ¬¸» °®±°»®¬§ ©¿­

                ©®±²¹º«´´§ ®»°±­­»­­»¼ò




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       îíò      ßÞ Ý®»¼·¬ Ë²·±² º¿·´»¼ ¬± ­»²¼ É»´´­ ¿²¼ ¬¸» Ý´¿­­ ®»¿­±²¿¾´» ¿«¬¸»²¬·½¿¬»¼




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²±¬·½»­ ±º ¼·­°±­·¬·±² ¿­ ®»¯«·®»¼ ¾§ y çóêïïò

       îìò      ßÞ Ý®»¼·¬ Ë²·±² ±® ­±³»±²» ¿¬ ßÞ Ý®»¼·¬ Ë²·±²­ ¼·®»½¬·±² ¼·­°±­»¼ ±º ¬¸»

Ð®±°»®¬§ øÜ·­°±­·¬·±²÷ ¿º¬»® ­»²¼·²¹ ¬¸» Ð®»­¿´» Ò±¬·½»ò

       îëò      ßº¬»® Ü·­°±­·¬·±²ô ßÞ Ý®»¼·¬ Ë²·±² ±® ­±³»±²» ¿¬ ßÞ Ý®»¼·¬ Ë²·±²­ ¼·®»½¬·±²

­»²¬ É»´´­ ¬¸» Ð±­¬ó­¿´» Ò±¬·½» ¿²¼ °±­¬ó­¿´» ²±¬·½»­ ¬± »¿½¸ ³»³¾»® ±º ¬¸» Ý´¿­­ »¨°´¿·²·²¹ ¸±©

·¬ ½¿´½«´¿¬»¼ ¬¸»·® ¼»º·½·»²½§ ¾¿´¿²½»­ò

       îêò      ßÞ Ý®»¼·¬ Ë²·±²­ °±­¬ó­¿´» ²±¬·½»­ ¬± É»´´­ ¿²¼ ¬¸» Ý´¿­­ º¿·´»¼ ¬± ½±³°´§ ©·¬¸

y çóêïê ¾»½¿«­» ¬¸» ²±¬·½»­æ

                ¿ò      Ü·¼ ²±¬ °®±ª·¼» ¿´´ ¬¸» ·²º±®³¿¬·±²ô ·² ¬¸» ®»¯«·­·¬» ±®¼»®ô ¿­ ®»¯«·®»¼ ¾§ y

       ìððòçóêïêø½÷øí÷ò

                ¾ò      Ü·¼ ²±¬ ­¬¿¬» º«¬«®» ¼»¾·¬­ô ½®»¼·¬­ô ½¸¿®¹»­ô ·²½´«¼·²¹ ¿¼¼·¬·±²¿´ ½®»¼·¬

       ­»®ª·½» ½¸¿®¹»­ ±® ·²¬»®»­¬ô ®»¾¿¬»­ô ¿²¼ »¨°»²­»­ ³¿§ ¿ºº»½¬ ¬¸» ¿³±«²¬ ±º ¬¸» ­«®°´«­ ±®

       ¼»º·½·»²½§ô ¿­ ®»¯«·®»¼ ¾§ y ìððòçóêïêø¿÷øï÷øÝ÷ò

                ½ò      Ó·­­¬¿¬»¼ ¸±© ¬¸» ½±´´¿¬»®¿´ ©¿­ ­±´¼ò




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                                                                                                          Û´»½¬®±²·½¿´´§
                                                                                                          Electronically Ú·´»¼
                                                                                                                         Filed ó- Ý·¬§
         îéò    Ì¸» °±­¬ó­¿´» ²±¬·½»­ ­»²¬ ¬± É»´´­ ¿²¼ ¬¸» Ó·­­±«®· Í«¾½´¿­­ ª·±´¿¬» ­»½¬·±² y çó




                                                                                                                                  City of
êïê ¾»½¿«­»æ




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                                                                                                                                          St. Ô±«·­
                ¿ò     Ì¸» °±­¬ó­¿´» ²±¬·½»­ ³·­­¬¿¬»¼ ¬¸» ¿¹¹®»¹¿¬» ¿³±«²¬ ±º ±¾´·¹¿¬·±² ø¿­




                                                                                                                                              Louis ó- Ó¿§
         ®»¯«·®»¼ ¾§ ÎÍÓ± y ìððòçóêïêø½÷øï÷÷ ¿²¼ ¬¸» ¿³±«²¬ ±º ¬¸» ¼»º·½·»²½§ ø¿­ ®»¯«·®»¼ ¾§




                                                                                                                                                       July 16,
         ÎÍÓ± yy ìððòçóêïêø¿÷øï÷øß÷ô ø½÷øê÷÷ ¾§ ·²½´«¼·²¹ «²°¿·¼ ¾¿´¿²½»­ ¿²¼ ·²¬»®»­¬ ¬¸¿¬ ¸¿¼




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         ²±¬ ¾»½±³» ¼«»ò

                ¾ò     Ì¸» °±­¬ó­¿´» ²±¬·½»­ ³·­­¬¿¬»¼ ±¬¸»® ¿³±«²¬­ º±® »¨°»²­»­ ¿²¼ ½®»¼·¬­ò




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                ½ò     Ì¸» °±­¬ó­¿´» ²±¬·½»­ ©»®» ±¬¸»®©·­» ³·­´»¿¼·²¹ò




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         îèò    Ú«¬«®» ¼»¾·¬­ô ½®»¼·¬­ô ½¸¿®¹»­ô ·²½´«¼·²¹ ¿¼¼·¬·±²¿´ ½®»¼·¬ ­»®ª·½» ½¸¿®¹»­ ±®

·²¬»®»­¬ô ®»¾¿¬»­ô ¿²¼ »¨°»²­»­ ¿ºº»½¬»¼ ¬¸» ¿³±«²¬ ±º ¬¸» ­«®°´«­ ±® ¼»º·½·»²½§ º±® É»´´­ ¿²¼ ¬¸»

Ý´¿­­ò

         îçò    ßÞ Ý®»¼·¬ Ë²·±²­ º¿·´«®» ¬± °®±ª·¼» ¿ ­¬¿¬«¬±®·´§ ½±³°´·¿²¬ °±­¬ó­¿´» ²±¬·½» ·­ °¿®¬

±º ¿ °¿¬¬»®²ô ±® ½±²­·­¬»²¬ ©·¬¸ ¿ °®¿½¬·½»ô ±º ²±²½±³°´·¿²½»ò

         íðò    ßÞ Ý®»¼·¬ Ë²·±² ­«»¼ É»´´­ ¿²¼ ¬¸» Ó·­­±«®· Í«¾½´¿­­ ©·¬¸±«¬ ¹·ª·²¹ ¬¸» ²±¬·½»

®»¯«·®»¼ ¾§ ÎÍÓ± y ìðèòëëéò

         íïò    ßÞ Ý®»¼·¬ Ë²·±²­ ¼»º·½·»²½§ ¿½¬·±²­ ¿¹¿·²­¬ É»´´­ ¿²¼ ¬¸» Ý´¿­­ ­±«¹¸¬ ·²¬»®»­¬ô

½¸¿®¹»­ô ¿²¼ »¨°»²­»­ ¬¸¿¬ ¿ºº»½¬»¼ ¬¸»·® ¼»º·½·»²½§ ¾¿´¿²½»­ô ·²½´«¼·²¹ ·²¬»®»­¬ô ¿¬¬±®²»§­ º»»­

¿²¼ ±¬¸»® ½±­¬­ ±º ½±´´»½¬·±²ò

         íîò    ßÞ Ý®»¼·¬ Ë²·±²­ ¼»º·½·»²½§ ¶«¼¹³»²¬­ ¿¹¿·²­¬ É»´´­ ¿²¼ ¬¸» Ý´¿­­ ·²½´«¼»¼

·²¬»®»­¬ô ½¸¿®¹»­ô ¿²¼ »¨°»²­»­ ¬¸¿¬ ¿ºº»½¬»¼ ¬¸»·® ¼»º·½·»²½§ ¾¿´¿²½»­ô ·²½´«¼·²¹ ·²¬»®»­¬ô ¿¬¬±®²»§­

º»»­ ¿²¼ ±¬¸»® ½±­¬­ ±º ½±´´»½¬·±²ò




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    Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 20 of 51 PageID #: 24




                                                                                                        Û´»½¬®±²·½¿´´§
                                                                                                        Electronically Ú·´»¼
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       ííò     ßÞ Ý®»¼·¬ Ë²·±² ±® ­±³»±²» ¿¬ ßÞ Ý®»¼·¬ Ë²·±²­ ¼·®»½¬·±² ¸¿­ «²´¿©º«´´§




                                                                                                                                City of
½±´´»½¬»¼ ±® ¿¬¬»³°¬»¼ ¬± ½±´´»½¬ ·²¬»®»­¬ ¿½½®«·²¹ ¿º¬»® ¼»º¿«´¬ ¿²¼ ¾»º±®» ¶«¼¹³»²¬ º®±³ É»´´­




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                                                                                                                                        St. Ô±«·­
¿²¼ Ó·­­±«®· ½±²­«³»®­ò




                                                                                                                                            Louis ó- Ó¿§
       íìò     ßÞ Ý®»¼·¬ Ë²·±² ±® ­±³»±²» ¿¬ ßÞ Ý®»¼·¬ Ë²·±²­ ¼·®»½¬·±² ¸¿­ «²´¿©º«´´§




                                                                                                                                                     July 16,
½±´´»½¬»¼ ±® ¿¬¬»³°¬»¼ ¬± ½±´´»½¬ ¼»º·½·»²½§ ¾¿´¿²½»­ º®±³ É»´´­ ¿²¼ ±¬¸»® ½±²­«³»®­ ·­­«»¼




                                                                                                                                                          ðëô 2018
                                                                                                                                                              îðïê -ó 01:06
¼»º»½¬·ª» ®·¹¸¬ ¬± ½«®»ô °®»­¿´» ¿²¼ °±­¬ó­¿´» ²±¬·½»­ò

       íëò     ßÞ Ý®»¼·¬ Ë²·±² ±® ­±³»±²» ¿¬ ßÞ Ý®»¼·¬ Ë²·±²­ ¼·®»½¬·±² ¸¿­ «²´¿©º«´´§




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½±´´»½¬»¼ ±® ¿¬¬»³°¬»¼ ¬± ½±´´»½¬ ¬¸» ¬·³» °®·½» ¼·ºº»®»²¬·¿´ô ¼»´·²¯«»²½§ ¿²¼ ½±´´»½¬·±² ½¸¿®¹»­




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º®±³ É»´´­ ¿²¼ ±¬¸»® Ó·­­±«®· ½±²­«³»®­ ·­­«»¼ ¼»º»½¬·ª» ®·¹¸¬ ¬± ½«®»ô °®»­¿´» ¿²¼ °±­¬ó­¿´»

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       íêò     ßÞ Ý®»¼·¬ Ë²·±² ¸¿­ ³¿·²¬¿·²»¼ ¿ °®¿½¬·½» ¿²¼ °±´·½§ ±º ®»°±®¬·²¹ ¼»®±¹¿¬±®§

·²º±®³¿¬·±² ®»¹¿®¼·²¹ ¬¸» ½´¿­­ ³»³¾»®­ ¬± ´±½¿´ ½±²­«³»® ®»°±®¬·²¹ ¿¹»²½·»­ ¿²¼ ¬¸» ¬¸®»»

²¿¬·±²¿´ ½±²­«³»® ½®»¼·¬ ®»°±®¬·²¹ ¿¹»²½·»­æ Û¯«·º¿¨ Ý®»¼·¬ ×²º±®³¿¬·±² Í»®ª·½»­ô ×²½òô Û¨°»®·¿²ô

×²½òô ¿²¼ Ì®¿²­Ë²·±²ô ÔÔÝ ø½±´´»½¬·ª»´§ô ÝÎß­÷ô ¼»­°·¬» ·¬­ º¿·´«®» ¬± ½±³°´§ ©·¬¸ ¬¸» ®·¹¸¬ ¬±

½«®»ô °®»­¿´» ¿²¼ °±­¬ó­¿´» ²±¬·½» ®»¯«·®»³»²¬­ò

       íéò     Ì¸» ¼»º»½¬·ª» ®·¹¸¬ ¬± ½«®»ô °®»­¿´» ¿²¼ °±­¬ó­¿´» ²±¬·½»­ô ¿²¼ ¬¸» ®»°±®¬·²¹ ±º º¿´­»

±® ·²¿½½«®¿¬» ¼»®±¹¿¬±®§ ·²º±®³¿¬·±² ±² ¬¸» ½´¿­­ ³»³¾»®­ ½®»¼·¬ ®»°±®¬­ ¸¿®³»¼ ¬¸» ½´¿­­

³»³¾»®­ ½®»¼·¬ ©±®¬¸·²»­­ô ½®»¼·¬ ­¬¿²¼·²¹ô ½®»¼·¬ ½¿°¿½·¬§ô ½¸¿®¿½¬»®ô ¿²¼ ¹»²»®¿´ ®»°«¬¿¬·±²ò

       íèò     Ì¸» ¼»º»½¬·ª» ®·¹¸¬ ¬± ½«®»ô °®»­¿´» ¿²¼ °±­¬ó­¿´» ²±¬·½»­ô ¿²¼ ¬¸» ®»°±®¬·²¹ ±º º¿´­»

±® ·²¿½½«®¿¬» ¼»®±¹¿¬±®§ ·²º±®³¿¬·±² ±² ¬¸» ½´¿­­ ³»³¾»®­ ½®»¼·¬ ®»°±®¬­ ©»®» ±®¿´ ±® ©®·¬¬»²

°«¾´·½¿¬·±² ±º ³¿¬»®·¿´ ¬¸¿¬ ¼»º¿³»­ô ­´¿²¼»®­ ±® ´·¾»´­ ¬¸» ½´¿­­ ³»³¾»®­ò




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    Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 21 of 51 PageID #: 25




                                                                                                        Û´»½¬®±²·½¿´´§
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       íçò     Ì¸» ¼»º»½¬·ª» ®·¹¸¬ ¬± ½«®»ô °®»­¿´» ¿²¼ °±­¬ó­¿´» ²±¬·½»­ô ¿²¼ ¬¸» ®»°±®¬·²¹ ±º º¿´­»




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±® ·²¿½½«®¿¬» ¼»®±¹¿¬±®§ ·²º±®³¿¬·±² ±² ¬¸» ½´¿­­ ³»³¾»®­ ½®»¼·¬ ®»°±®¬­ ©»®» ±®¿´ ±® ©®·¬¬»²




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                                                                                                                                        St. Ô±«·­
°«¾´·½¿¬·±² ±º ³¿¬»®·¿´ ¬¸¿¬ ·²ª¿¼»¼ ¬¸» ½´¿­­ ³»³¾»®­ °®·ª¿½§ ®·¹¸¬­ò




                                                                                                                                            Louis ó- Ó¿§
                                       Ý´¿­­ ß´´»¹¿¬·±²­




                                                                                                                                                     July 16,
       ìðò     É»´´­ ½±«²¬»®½´¿·³­ º±® ¸·³­»´º ¿²¼ ½´¿­­»­ ¼»­·¹²¿¬»¼ «²¼»® Î«´»­ ëîòðèø¿÷ ¿²¼




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ëîòðèø¾÷øí÷ ¬± ®»³»¼§ ¬¸» ±²¹±·²¹ «²º¿·®ô «²´¿©º«´ô ±® ¼»½»°¬·ª» ¾«­·²»­­ °®¿½¬·½»­ ¿´´»¹»¼ô ¿²¼




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­»»µ­ ®»¼®»­­ º±® ¿´´ ¬¸±­» °»®­±²­ ¸¿®³»¼ò




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       ìïò     Ì¸» Ý´¿­­ ½±³°®·­»­ ¿´´ °»®­±²­ øÝ´¿­­÷æ




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               ¿ò ©¸± ¿®» ²¿³»¼ ¿­ ¾±®®±©»®­ ±® ¾«§»®­ ±² ¿ ´±¿² ±® º·²¿²½·²¹ ¿¹®»»³»²¬ ©·¬¸

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               ¾ò ©¸±­» ´±¿² ±® º·²¿²½·²¹ ¿¹®»»³»²¬ ©¿­ ­»½«®»¼ ¾§ ½±´´¿¬»®¿´å

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Í«¾½´¿­­÷æ

                ¿ò ©¸± ±¾¬¿·²»¼ ¿ Ó·­­±«®· Ý»®¬·º·½¿¬» ±º Ì·¬´» º±® ¿ ³±¬±® ª»¸·½´» ·¼»²¬·º§·²¹

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                   ©·¬¸ ¿ Ó·­­±«®· ¿¼¼®»­­ ±² ¿ ´±¿² ±® º·²¿²½·²¹ ¿¹®»»³»²¬ ©·¬¸ ßÞ Ý®»¼·¬

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       ìíò      Ó»³¾»®­ ±º ¬¸» ½´¿­­»­ ¿®» ­± ²«³»®±«­ ¬¸»·® ·²¼·ª·¼«¿´ ¶±·²¼»® ·­ ·³°®¿½¬·½¿¾´»ò




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É»´´­ ·­ ·²º±®³»¼ ¿²¼ ¾»´·»ª»­ ¬¸» °®±°±­»¼ ½´¿­­»­ »¿½¸ ½±²¬¿·² ±ª»® íðð ·²¼·ª·¼«¿´­ ©¸± ¸¿¼




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¬¸»·® ³±¬±® ª»¸·½´»­ ±® ±¬¸»® ½±´´¿¬»®¿´ ®»°±­­»­­»¼ ¿²¼ ¼·­°±­»¼ò Ì¸» ½´¿­­»­ ¿®» ­«ºº·½·»²¬´§




                                                                                                                                          Louis ó- Ó¿§
²«³»®±«­ ¬± ³¿µ» ¶±·²¼»® ·³°®¿½¬·½¿¾´»ô ·º ²±¬ ·³°±­­·¾´»ò Ì¸» °®»½·­» ²«³¾»® ±º Ý´¿­­ ³»³¾»®­




                                                                                                                                                   July 16,
·­ «²µ²±©²ò




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                                                                                                                                                            îðïê -ó 01:06
       ììò      Ì¸»®» ¿®» ¯«»­¬·±²­ ±º ´¿© ¿²¼ º¿½¬ ½±³³±² ¬± ¬¸» ½´¿­­»­ô ©¸·½¸ °®»¼±³·²¿¬» ±ª»®

¿²§ ·­­«»­ ·²ª±´ª·²¹ ·²¼·ª·¼«¿´ ½´¿­­ ³»³¾»®­ò




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       ìëò      Ì¸» °®·²½·°¿´ ´»¹¿´ ¯«»­¬·±² ½±³³±² ¬± É»´´­ ¿²¼ »¿½¸ ½´¿­­ ³»³¾»® ·­ ©¸»¬¸»®




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¬¸» °®»­¿´» ¿²¼ °±­¬ó­¿´» ²±¬·½»­ ­»²¬ ¾§ ßÞ Ý®»¼·¬ Ë²·±²ô ±® ­±³»±²» ¿¬ ·¬­ ¼·®»½¬·±²ô ½±³°´·»¼

©·¬¸ ¬¸» ËÝÝò

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·­ ©¸»¬¸»® ÎÍÓ± y ìðèòëëí °®»½´«¼»­ ·²¬»®»­¬ º®±³ ¿½½®«·²¹ ¿º¬»® ¼»º¿«´¬ «²¬·´ ¿ ¶«¼¹³»²¬ ·­

±¾¬¿·²»¼ô ¿²¼ ·º ­±ô ©¸»¬¸»® ¬¸» °®»­¿´» ¿²¼ °±­¬ó­¿´» ²±¬·½»­ ¿®» ¼»º»½¬·ª» ¾§ ·²½´«¼·²¹ ±®

¼·­½«­­·²¹ ·²¬»®»­¬ ßÞ Ý®»¼·¬ Ë²·±² ©¿­ °®»½´«¼»¼ º®±³ ½¸¿®¹·²¹ò

       ìéò      É»´´­ ½´¿·³­ ¿®» ¬§°·½¿´ ±º ¬¸» ½´¿·³­ ±º ¬¸» ½´¿­­ ³»³¾»®­ò

       ìèò      É»´´­ ¿²¼ ¬¸» ½´¿­­»­ ½´¿·³­ ¿®» ¾¿­»¼ ±² ¬¸» ­¿³» º¿½¬«¿´ ¿²¼ ´»¹¿´ ¬¸»±®·»­ò

       ìçò      É»´´­ ¿²¼ ¬¸» Ý´¿­­­ ®·¹¸¬­ ¼»®·ª» º®±³ ©®·¬¬»²ô º±®³ ½±²¬®¿½¬­ ¿²¼ ¿ «²·º±®³

­¬¿¬«¬» ¿¼±°¬»¼ ¾§ ¿´´ ëð ­¬¿¬»­ò

       ëðò      Ì¸» ª·±´¿¬·±²­ ¿´´»¹»¼ ¾§ É»´´­ ¿²¼ ¬¸» Ý´¿­­ ¼»®·ª» º®±³ ©®·¬¬»²ô º±®³ °®»­¿´» ¿²¼

°±­¬ó­¿´» ²±¬·½»­ ¬¸¿¬ ª·±´¿¬» ¬¸» ËÝÝ ¿¼±°¬»¼ ¾§ »¿½¸ ­¬¿¬»ò

       ëïò      Ì¸» ª·±´¿¬·±²­ ¿´´»¹»¼ ¾§ É»´´­ ¿²¼ ¬¸» Ó·­­±«®· Í«¾½´¿­­ ¼»®·ª» º®±³ ©®·¬¬»²ô

º±®³ ®·¹¸¬ ¬± ½«®»ô °®»­¿´» ¿²¼ °±­¬ó­¿´» ²±¬·½»­ ¬¸¿¬ ª·±´¿¬» ÎÍÓ± yy ìðèòëëíô ìðèòëëìô ìðèòëëë

¿²¼ ¬¸» ËÝÝò




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    Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 23 of 51 PageID #: 27




                                                                                                      Û´»½¬®±²·½¿´´§
                                                                                                      Electronically Ú·´»¼
                                                                                                                     Filed ó- Ý·¬§
       ëîò     É»´´­ ¿²¼ »¿½¸ ½´¿­­ ³»³¾»® ©»®» ¼¿³¿¹»¼ ¿²¼ ³¿§ ®»½±ª»® ¿½¬«¿´ ¼¿³¿¹»­ ²±¬




                                                                                                                              City of
´»­­ ¬¸¿² ¬¸» ³·²·³«³ ¼¿³¿¹»­ °®±ª·¼»¼ ¾§ ¬¸» ËÝÝ ¼«» ¬± ßÞ Ý®»¼·¬ Ë²·±²­ º¿·´«®» ¬± °®±ª·¼»




                                                                                                                                   ±º Í¬ò
                                                                                                                                      St. Ô±«·­
°®±°»® °®»­¿´» ²±¬·½»­ ¿²¼ °±­¬ó­¿´» ²±¬·½»­ò




                                                                                                                                          Louis ó- Ó¿§
       ëíò     É»´´­ ©·´´ º¿·®´§ ¿²¼ ¿¼»¯«¿¬»´§ ®»°®»­»²¬ ¿²¼ °®±¬»½¬ ¬¸» ·²¬»®»­¬­ ±º ¬¸» ½´¿­­»­ò




                                                                                                                                                   July 16,
       ëìò     É»´´­ ¸¿­ ²± ·²¬»®»­¬­ ¿²¬¿¹±²·­¬·½ ¬± ¬¸» ½´¿­­ ³»³¾»®­ò




                                                                                                                                                        ðëô 2018
                                                                                                                                                            îðïê -ó 01:06
       ëëò     É»´´­ ½±«²­»´ ·­ ½±³°»¬»²¬ ¿²¼ »¨°»®·»²½»¼ ·² ½±²­«³»® ¿²¼ ½´¿­­ ´·¬·¹¿¬·±²ò

       ëêò     É»´´­ ¿²¼ ¿´´ ½´¿­­ ³»³¾»®­ ¸¿ª» ¿² ·²¬»®»­¬ ·² ¼»¬»®³·²·²¹ ¬¸» ¿¼»¯«¿½§ ±º ¬¸»




                                                                                                                                                                    ðíæðë PM
°®»­¿´» ²±¬·½»­ ¿²¼ °±­¬ó­¿´» ²±¬·½»­ ­»²¬ ¾§ ßÞ Ý®»¼·¬ Ë²·±² ¿²¼ ¬± ®»½±ª»® ¼¿³¿¹»­ ¼«» ¬± ¬¸»




                                                                                                                                                                          ÐÓ
­¬¿¬«¬±®·´§ ¼»º»½¬·ª» °®»­¿´» ²±¬·½»­ ¿²¼ °±­¬ó­¿´» ²±¬·½»­ò

       ëéò     Ì¸» ¯«»­¬·±²­ ±º ´¿© ±® º¿½¬ ½±³³±² ¬± ¬¸» ½´¿­­»­ °®»¼±³·²¿¬» ±ª»® ¯«»­¬·±²­

¿ºº»½¬·²¹ ±²´§ ·²¼·ª·¼«¿´ ³»³¾»®­ò

       ëèò     É»´´­ ¿²¼ »¿½¸ ½´¿­­ ³»³¾»® ©·´´ ®»´§ ±² ¬¸» ­¿³» ¾¿­·½ »ª·¼»²½» ø·ò»òô ¬¸» º±®³

°®»­¿´» ²±¬·½»­ ¿²¼ °±­¬ó­¿´» ²±¬·½»­÷ò

       ëçò     Ü»¬»®³·²·²¹ ¬¸» ¼»º·½·»²½§ ±º ¬¸» °®»­¿´» ²±¬·½»­ ¿²¼ °±­¬ó­¿´» ²±¬·½»­ ®»­±´ª»­ ¿´´

½´¿­­ ³»³¾»®­ ½´¿·³­ ¾»½¿«­» »¿½¸ ²±¬·½» ­»²¬ ¬± ¬¸» ½´¿­­ ³»³¾»®­ ­«ºº»®­ º®±³ ¿¬ ´»¿­¬ ±²» ±º

¬¸» ­¿³» ¼»º·½·»²½·»­ ¿­ É»´´­ ²±¬·½»­ò

       êðò     ß ½´¿­­ ¿½¬·±² ·­ ­«°»®·±® ¬± ±¬¸»® ¿ª¿·´¿¾´» ³»¬¸±¼­ º±® ¬¸» º¿·® ¿²¼ »ºº·½·»²¬

¿¼¶«¼·½¿¬·±² ±º ¬¸·­ ½±²¬®±ª»®­§ò

       êïò     Ì¸» ½´¿­­ ³»³¾»®­ ¿®» ½±²­«³»® ¼»¾¬±®­ô ©¸± ´·µ»´§ ½¿²²±¬ ´±½¿¬» ±® ¿ºº±®¼ ¬± ¸·®»

´¿©§»®­ò

       êîò     Ó±­¬ ½´¿­­ ³»³¾»®­ ¿®» °®±¾¿¾´§ «²¿©¿®» ßÞ Ý®»¼·¬ Ë²·±² ª·±´¿¬»¼ ¬¸»·® ®·¹¸¬­

¿²¼ ¬¸» ´¿©ò




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    Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 24 of 51 PageID #: 28




                                                                                                       Û´»½¬®±²·½¿´´§
                                                                                                       Electronically Ú·´»¼
                                                                                                                      Filed ó- Ý·¬§
        êíò     ×º »¿½¸ ±º ¬¸» ½´¿­­ ³»³¾»®­ ©»®» º±®½»¼ ¬± ¾®·²¹ ¿² ·²¼·ª·¼«¿´·¦»¼ ­«·¬ô ­«½¸ ­«·¬­




                                                                                                                               City of
©±«´¼ ¾«®¼»² ¶«¼·½·¿´ ®»­±«®½»­ ¿²¼ ©±«´¼ ½®»¿¬» ¬¸» ®·­µ ±º ³«´¬·°´» ·²½±²­·­¬»²¬ ®»­«´¬­ º±®




                                                                                                                                    ±º Í¬ò
                                                                                                                                       St. Ô±«·­
­·³·´¿®´§ ­·¬«¿¬»¼ °¿®¬·»­ò




                                                                                                                                           Louis ó- Ó¿§
        êìò     Ý±²½»²¬®¿¬·²¹ ¬¸» ´·¬·¹¿¬·±² ±º É»´´­ ¿²¼ ¬¸» ½´¿­­ ³»³¾»®­ ½´¿·³­ ·­ ¿´­±




                                                                                                                                                    July 16,
¼»­·®¿¾´» ¿²¼ ´±¹·½¿´ ¹·ª»² ¬¸» °®»¼±³·²¿²½» ±º ½±³³±² ¯«»­¬·±²­ ±º ´¿© ¿²¼ º¿½¬ ¿´´»¹»¼ ¿¾±ª»ò




                                                                                                                                                         ðëô 2018
                                                                                                                                                             îðïê -ó 01:06
        êëò     Ì¸» ½´¿­­»­ ­¸±«´¼ ¾» ½»®¬·º·»¼ «²¼»® Î«´» ëîòðèø¾÷øí÷ô ¿­ ¬¸» ­«°»®·±® ³»¬¸±¼ º±®

¬¸» º¿·® ¿²¼ »ºº·½·»²¬ ¿¼¶«¼·½¿¬·±² ±º ¬¸·­ ½±²¬®±ª»®­§ò




                                                                                                                                                                     ðíæðë PM
        êêò     É»´´­ ¿´­± ­»»µ­ ¿ ¼»½´¿®¿¬·±² ¬¸¿¬ ¬¸» º±®³ ®·¹¸¬ ¬± ½«®» ²±¬·½»­ô °®»­¿´» ²±¬·½»­




                                                                                                                                                                           ÐÓ
¿²¼ °±­¬ó­¿´» ²±¬·½»­ «­»¼ ¾§ ßÞ Ý®»¼·¬ Ë²·±² ª·±´¿¬» Ó·­­±«®· ±® ±¬¸»® ¿°°´·½¿¾´» ´¿©ò

                                    Ý±«²¬ ×  Ý´¿­­­ Ý´¿·³
        êéò     É»´´­ ®»°»¿¬­ ¬¸» ¿´´»¹¿¬·±²­ ­»¬ º±®¬¸ ¿¾±ª» ¿­ ·º ­»¬ º±®¬¸ ·² Ý±«²¬ ×ò

        êèò     ßÞ Ý®»¼·¬ Ë²·±² ª·±´¿¬»¼ ¬¸» ËÝÝ ¾§ º¿·´·²¹ ¬± °®±ª·¼» ¬¸» °®»­¿´» ²±¬·½» ·² ¬¸»

º±®³ ¿²¼ ³¿²²»® ®»¯«·®»¼ «²¼»® ¬¸» ËÝÝ ¾»º±®» ¼·­°±­·²¹ ±º ½±´´¿¬»®¿´ ­»½«®»¼ ¾§ ´±¿²­ »²¬»®»¼

¾§ô ¿­­·¹²»¼ ¬±ô ±® ±©²»¼ ¾§ ßÞ Ý®»¼·¬ Ë²·±²ò

        êçò     ßÞ Ý®»¼·¬ Ë²·±² ¼·¼ ²±¬ «­» ¬¸» º±®³ ±º ²±¬·º·½¿¬·±² °®±ª·¼»¼ ·² y çóêïìøí÷ ±º ¬¸»

ËÝÝ ©¸»² ­»²¼·²¹ °®»­¿´» ²±¬·½»­ ¬± É»´´­ ¿²¼ ¬¸» Ý´¿­­ò

        éðò     ßÞ Ý®»¼·¬ Ë²·±²­ °®»­¿´» ²±¬·½» ¬± É»´´­ ¿²¼ ¬¸» Ý´¿­­ ·²½´«¼»¼ ¿¼¼·¬·±²¿´

´¿²¹«¿¹» ±® ½±²¬»²¬ ²±¬ ¿«¬¸±®·¦»¼ ±® ¿´´±©»¼ ¾§ ´¿©ô ®»²¼»®·²¹ ¬¸» °®»­¿´» ²±¬·½»­ ³·­´»¿¼·²¹ ±®

«²®»¿­±²¿¾´» ·² ª·±´¿¬·±² ±º yy çóêïï ¿²¼ çóêïì ±º ¬¸» ËÝÝò

        éïò     ß­ ®»¯«·®»¼ «²¼»® y çóêïï ±º ¬¸» ËÝÝô ßÞ Ý®»¼·¬ Ë²·±² º¿·´»¼ ¬± °®±ª·¼»

®»¿­±²¿¾´» ¿«¬¸»²¬·½¿¬»¼ ²±¬·½» ±º ¼·­°±­·¬·±² ¬± É»´´­ ¿²¼ ¬¸» Ý´¿­­ò

        éîò     ßÞ Ý®»¼·¬ Ë²·±² ¼·¼ ²±¬ ­»²¼ °±­¬ó­¿´» ²±¬·½»­ô ±® ¿²§ ±¬¸»® »¨°´¿²¿¬·±² ±® ©®·¬·²¹ô

¬± É»´´­ ¿²¼ ¬¸» Ý´¿­­ °®±ª·¼·²¹ ¿´´ ¬¸» ·²º±®³¿¬·±²ô ·² ¬¸» ®»¯«·­·¬» ±®¼»®ô ¿­ ®»¯«·®»¼ ¾§ y çóêïê

±º ¬¸» ËÝÝò



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    Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 25 of 51 PageID #: 29




                                                                                                        Û´»½¬®±²·½¿´´§
                                                                                                        Electronically Ú·´»¼
                                                                                                                       Filed ó- Ý·¬§
       éíò      ßÞ Ý®»¼·¬ Ë²·±²­ º¿·´«®» ¬± °®±ª·¼» ¿ ­¬¿¬«¬±®·´§ ½±³°´·¿²¬ °±­¬ó­¿´» ²±¬·½» ·­ °¿®¬




                                                                                                                                City of
±º ¿ °¿¬¬»®²ô ±® ½±²­·­¬»²¬ ©·¬¸ ¿ °®¿½¬·½»ô ±º ²±²½±³°´·¿²½» ¾»½¿«­» ßÞ Ý®»¼·¬ Ë²·±² ­»²¬ ¬¸»




                                                                                                                                     ±º Í¬ò
                                                                                                                                        St. Ô±«·­
­¿³» ²±²½±³°´·¿²¬ °±­¬ó­¿´» ²±¬·½» ¬± É»´´­ ¿²¼ ¬¸» Ý´¿­­ò




                                                                                                                                            Louis ó- Ó¿§
       éìò      ß­ ¿ ¼·®»½¬ ¿²¼ °®±¨·³¿¬» ®»­«´¬ ±º º¿·´«®» ¬± ½±³°´§ ©·¬¸ ¬¸» ®»¯«·®»³»²¬­ ±º




                                                                                                                                                     July 16,
Í«¾½¸¿°¬»® ê ±º ß®¬·½´» ç ±º ¬¸» ËÝÝô É»´´­ ¿²¼ ¬¸» Ý´¿­­ ­«ºº»®»¼ ¿½¬«¿´ ¼¿³¿¹»­ ²±¬ ´»­­ ¬¸¿²




                                                                                                                                                          ðëô 2018
                                                                                                                                                              îðïê -ó 01:06
¬¸» ³·²·³«³ ¼¿³¿¹»­ °®±ª·¼»¼ ¾§ y çóêîëø½÷øî÷ô ·²½´«¼·²¹æ

                ¿ò ´±­­ ±º «­» ±º ¬¿²¹·¾´» °®±°»®¬§ ¿²¼ ½±­¬ ±º ¿´¬»®²¿¬·ª» ¬®¿²­°±®¬¿¬·±²å




                                                                                                                                                                      ðíæðë PM
                ¾ò ´±­­ ®»­«´¬·²¹ º®±³ ¬¸» ·²¿¾·´·¬§ ¬± ±¾¬¿·²ô ±® ·²½®»¿­»¼ ½±­¬­ ±ºô ¿´¬»®²¿¬·ª»




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                    º·²¿²½·²¹å

                ½ò ¸¿®³ ¬± ½®»¼·¬ ©±®¬¸·²»­­ô ½®»¼·¬ ­¬¿²¼·²¹ô ½®»¼·¬ ½¿°¿½·¬§ô ½¸¿®¿½¬»®ô ¿²¼

                    ¹»²»®¿´ ®»°«¬¿¬·±²å

                ¼ò ¸¿®³ ½¿«­»¼ ¾§ ¼»º¿³¿¬·±²ô ­´¿²¼»® ¿²¼ ´·¾»´å

                »ò ¸¿®³ ½¿«­»¼ ¾§ ·²ª¿­·±² ±º °®·ª¿½§å ¿²¼

                ºò ±¬¸»® «²½»®¬¿·² ¿²¼ ¸¿®¼ó¬±ó¯«¿²¬·º§ ¿½¬«¿´ ¼¿³¿¹»­ò

       ÉØÛÎÛÚÑÎÛô É»´´­ °®¿§­ ¬¸·­ Ý±«®¬ ½»®¬·º§ ¬¸» Ý´¿­­ ¿²¼ »²¬»® ¿ ¶«¼¹³»²¬ º±® É»´´­

¿²¼ ¬¸» Ý´¿­­ ¿¹¿·²­¬ ßÞ Ý®»¼·¬ Ë²·±²æ

       ¿ò ¿©¿®¼·²¹ ¿½¬«¿´ ¼¿³¿¹»­ ²±¬ ´»­­ ¬¸¿² ¬¸» ³·²·³«³ ¼¿³¿¹»­ °®±ª·¼»¼ ¾§ y çó

             êîëø½÷øî÷å

       ¾ò ­¬¿¬«¬±®§ ¼¿³¿¹»­ ±º üëðð º±® »¿½¸ ¼»º»½¬·ª» °±­¬ó­¿´» ²±¬·½» ­»²¬ ±® ¬¸¿¬ ßÞ Ý®»¼·¬

             Ë²·±² º¿·´»¼ ¬± ­»²¼å

       ½ò °®»¶«¼¹³»²¬ ¿²¼ °±­¬ó¶«¼¹³»²¬ ·²¬»®»­¬å

       ¼ò ¿ °®»´·³·²¿®§ ¿²¼ °»®³¿²»²¬ ·²¶«²½¬·±² »²¶±·²·²¹ ßÞ Ý®»¼·¬ Ë²·±² º®±³ »²¹¿¹·²¹ ·²

             ¬¸» °®¿½¬·½»­ ¿´´»¹»¼ô ·²½´«¼·²¹ ©·¬¸±«¬ ´·³·¬¿¬·±²ô »²¶±·²·²¹ ßÞ Ý®»¼·¬ Ë²·±² º®±³




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    Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 26 of 51 PageID #: 30




                                                                                                         Û´»½¬®±²·½¿´´§
                                                                                                         Electronically Ú·´»¼
                                                                                                                        Filed ó- Ý·¬§
             ½±´´»½¬·²¹ ¼»º·½·»²½§ ¶«¼¹³»²¬­ô ¬·³» °®·½» ¼·ºº»®»²¬·¿´ô ¼»´·²¯«»²½§ ¿²¼ ½±´´»½¬·±²




                                                                                                                                 City of
             ½¸¿®¹»­ º®±³ É»´´­ ¿²¼ ¬¸» Ý´¿­­å




                                                                                                                                      ±º Í¬ò
                                                                                                                                         St. Ô±«·­
       »ò ¿ ³¿²¼¿¬±®§ ·²¶«²½¬·±² ½±³°»´´·²¹ ßÞ Ý®»¼·¬ Ë²·±² ¬± ®»¬«®² ¿²§ ³±²»§ ½±´´»½¬»¼ º±®




                                                                                                                                             Louis ó- Ó¿§
             ¼»º·½·»²½§ ¶«¼¹³»²¬­ô ¬·³» °®·½» ¼·ºº»®»²¬·¿´ô ¼»´·²¯«»²½§ ¿²¼ ½±´´»½¬·±² ½¸¿®¹»­ º®±³




                                                                                                                                                      July 16,
             É»´´­ ¿²¼ ¬¸» Ý´¿­­å




                                                                                                                                                           ðëô 2018
                                                                                                                                                               îðïê -ó 01:06
       ºò ¿ ³¿²¼¿¬±®§ ·²¶«²½¬·±² ½±³°»´´·²¹ ßÞ Ý®»¼·¬ Ë²·±² ¬± ®»³±ª» ¿²§ ¿¼ª»®­» ½®»¼·¬

             ·²º±®³¿¬·±² ©®±²¹º«´´§ ®»°±®¬»¼ ±² É»´´­ ¿²¼ ¬¸» Ý´¿­­ ½±²­«³»® ½®»¼·¬ ®»°±®¬­å




                                                                                                                                                                       ðíæðë PM
       ¹ò ¿ ¼»½´¿®¿¬·±² ¬¸¿¬ ¬¸» °®»­¿´» ¿²¼ °±­¬ó­¿´» ²±¬·½»­ ­»²¬ ¾§ ßÞ Ý®»¼·¬ Ë²·±² ¬± É»´´­




                                                                                                                                                                             ÐÓ
             ¿²¼ ¬¸» Ý´¿­­ º¿·´ ¬± ½±³°±®¬ ©·¬¸ ¬¸» ­¬¿¬«¬±®§ ®»¯«·®»³»²¬­å ¿²¼

       ¸ò º±® ­«½¸ ±¬¸»® ¿²¼ º«®¬¸»® ®»´·»º ¿­ ¬¸·­ Ý±«®¬ ¼»»³­ ¶«­¬ ¿²¼ °®±°»®ò

                             Ý±«²¬ ××  Ó·­­±«®· Í«¾½´¿­­ Ý´¿·³
       éëò      É»´´­ ®»°»¿¬­ ¬¸» ¿´´»¹¿¬·±²­ ­»¬ º±®¬¸ ¿¾±ª» ¿­ ·º ­»¬ º±®¬¸ ·² Ý±«²¬ ××ò

       éêò      ÎÍÓ± y ìðèòëëë °®±¸·¾·¬­ ßÞ Ý®»¼·¬ Ë²·±² º®±³ ¿½½»´»®¿¬·²¹ ¬¸» ³¿¬«®·¬§ ±º ¬¸»

«²°¿·¼ ¾¿´¿²½»ô ¬¿µ·²¹ °±­­»­­·±² ±º ¬¸» ½±´´¿¬»®¿´ ±® ±¬¸»®©·­» »²º±®½·²¹ ·¬­ ­»½«®·¬§ ·²¬»®»­¬ «²¬·´

¬¸» ²±¬·½» ®»¯«·®»¼ ¾§ ÎÍÓ± y ìðèòëëì ·­ ¹·ª»²ò

       ééò      ßÞ Ý®»¼·¬ Ë²·±² º¿·´»¼ ¬± ¹·ª» É»´´­ ¿²¼ ¬¸» Ó·­­±«®· Í«¾½´¿­­ ¬¸» ²±¬·½» ®»¯«·®»¼

¾§ ÎÍÓ± y ìðèòëëì ¾»º±®» ·¬ ¿½½»´»®¿¬»¼ ¬¸» ³¿¬«®·¬§ ±º ¬¸» «²°¿·¼ ¾¿´¿²½»­ «²¼»® ¬¸» ½±²­«³»®

½®»¼·¬ ½±²¬®¿½¬­ò

       éèò      ßÞ Ý®»¼·¬ Ë²·±² º¿·´»¼ ¬± ¹·ª» É»´´­ ¿²¼ ¬¸» Ó·­­±«®· Í«¾½´¿­­ ¬¸» ²±¬·½» ®»¯«·®»¼

¾§ ÎÍÓ± y ìðèòëëì ¾»º±®» ·¬ ®»°±­­»­­»¼ ¬¸» ½±´´¿¬»®¿´ ­»½«®»¼ ¾§ ¬¸» ½±²­«³»® ½®»¼·¬ ½±²¬®¿½¬­ò

       éçò      ßÞ Ý®»¼·¬ Ë²·±² ©®±²¹º«´´§ ¿½½»´»®¿¬»¼ ¬¸» ³¿¬«®·¬§ ±º ¬¸» «²°¿·¼ ¾¿´¿²½»­ «²¼»®

¬¸» ½±²­«³»® ½®»¼·¬ ½±²¬®¿½¬­ò

       èðò      ßÞ Ý®»¼·¬ Ë²·±² ©®±²¹º«´´§ ®»°±­­»­­»¼ ¬¸» ½±´´¿¬»®¿´ ­»½«®»¼ ¾§ ¬¸» ½±²­«³»®

½®»¼·¬ ½±²¬®¿½¬­ ¿²¼ ½¿«­»¼ É»´´­ ¿²¼ ¬¸» Ó·­­±«®· Í«¾½´¿­­ ¬¸» ´±­­ ±º «­» ±º ¬¿²¹·¾´» °®±°»®¬§ò



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    Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 27 of 51 PageID #: 31




                                                                                                        Û´»½¬®±²·½¿´´§
                                                                                                        Electronically Ú·´»¼
                                                                                                                       Filed ó- Ý·¬§
       èïò     ßÞ Ý®»¼·¬ Ë²·±²­ º¿·´«®» ¬± °®±ª·¼» ¿ ²±¬·½» ­«ºº·½·»²¬ «²¼»® ÎÍÓ± yy ìðèòëëì




                                                                                                                                City of
¿²¼ ìðèòëëë ¾»º±®» ¿½½»´»®¿¬·±² ¿²¼ ®»°±­­»­­·±² ª·±´¿¬»­ ÎÍÓ± y íêëòïìëò




                                                                                                                                     ±º Í¬ò
                                                                                                                                        St. Ô±«·­
       èîò     ßÞ Ý®»¼·¬ Ë²·±²­ ©®±²¹º«´ ¿½½»´»®¿¬·±² ±º ¬¸» ³¿¬«®·¬§ ±º ¬¸» «²°¿·¼ ¾¿´¿²½»­




                                                                                                                                            Louis ó- Ó¿§
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    Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 28 of 51 PageID #: 32




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Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 30 of 51 PageID #: 34




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    Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 31 of 51 PageID #: 35




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 Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 32 of 51 PageID #: 36




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                                                            Mark A. Sadler
                                                            Claim Professional | Business Torts
                                                            Travelers
                                                            385 Washington St. | MC 9275-
                                                            SB03T
                                                            St. Paul, MN 55102
                                                            (651) 310-7456
                                                            (866) 608-9633 (fax)




November 10, 2017


U.S. Mail and Email (delarson@martinpringle.com)

Mr. David E. Larson, Esq.
Martin Pringle Attorneys at Law
One Main Plaza, 4435 Main Street, Suite 920
Kansas City, MO 64111


Re:    Insured:              Anheuser-Busch Employees Credit Union
       Claim Nos.:           FAV5286
       Claimant:             Daniel P. Wells
       Insurer:              Charter Oak Fire Insurance Company and Travelers
                             Property Casualty Company of America (“Travelers”)
       Policy No:            H-630-3E389749-COF-16; HASM-CUP-3E389749-TIL-
                             16; H-630-3E389749-COF-15; HASM-CUP-3E38974-TIL-
                             15; H-630-3E389749-COF-14; HASM-CUP-3E389749-
                             TIL-14


Dear Mr. Larson:

We are writing to you as coverage counsel for Anheuser-Busch Employees Credit Union
in the above referenced matter. The purpose of this letter is to provide you with our
coverage evaluation for the claims made by Daniel P. Wells against Anheuser-Busch
Employees Credit Union as outlined in his class action counterclaim to a lawsuit brought
by Anheuser-Busch Employees Credit Union, and currently pending in the Circuit Court
of St. Louis City, Missouri.




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     Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 33 of 51 PageID #: 37




                                                                                                 Electronically Filed - City of St. Louis - July 16, 2018 - 01:06 PM
Mr. David E. Larson, Esq.
Martin Pringle Attorneys at Law
11/10/2017
Page 2


Anheuser-Busch Employees Credit Union has requested coverage for this claim under
Policy Nos. H-630-3E389749-COF-16; HASM-CUP-3E389749-TIL-16; H-630-
3E389749-COF-15; HASM-CUP-3E38974-TIL-15; H-630-3E389749-COF-14; HASM-
CUP-3E389749-TIL-14 issued to Anheuser-Busch Employees Credit Union by Charter
Oak Fire Insurance Company and Travelers Property Casualty Company of America
(hereinafter “Travelers”). We wish to advise you that based on the information we have
regarding this claim, as well as the applicable policy language, Travelers agrees to
participate in the defense of Anheuser-Busch Employees Credit Union in the above
referenced matter. Please note that this agreement is subject to a full reservation of rights,
including the right to seek a judicial determination of the coverage issues in this matter, as
discussed below.

For your convenience and reference, we have set forth below a more detailed discussion of
the reasons for our coverage determination.

SUMMARY OF THE CLAIM

In the following paragraphs, I will provide a summary of this matter based upon the
information and documents provided to date. We realize that Anheuser-Busch Employees
Credit Union may dispute the various allegations made by Mr. Wells in this matter. By
referring to those allegations in this letter, Travelers does not mean to imply that any of
them are true; however, we must necessarily refer to these allegations in determining any
obligation Travelers may have to Anheuser-Busch Employees Credit Union under the
Travelers policies.

The Lawsuit

This matter arises from the repossession of an automobile from borrower Daniel P. Wells.
Mr. Wells purchased his 2010 Toyota Corolla in January of 2011. By March of 2012, he
had fallen behind in his payments. In April of 2012 the vehicle was repossessed and
subsequently sold. Anheuser-Busch Employees Credit Union then took steps to recover a
deficiency balance and filed a petition in the Circuit Court of St Louis City (Associate
Division) to collect this balance as well as sums owed on a credit card. Anheuser-Busch
Employees Credit Union secured a default judgment in August of 2015. The default
judgment was set aside in March of 2016 and an answer and counterclaim was
subsequently filed. In May of 2016, Mr. Wells filed an amended answer and counterclaim
asserting class action claim against Anheuser-Busch Employees Credit Union.

The Amended Answer and Counterclaim

In his first amended counterclaim, Plaintiff states this lawsuit is a consumer class action
against Anheuser-Busch Employees’ Credit Union (“AB Credit Union”), and its
predecessors or successors, seeking relief to redress an unlawful and deceptive pattern of
wrongdoing followed by AB Credit Union regarding collection (including collection of
alleged deficiencies), enforcement, repossession and disposition of collateral. Plaintiff
Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 34 of 51 PageID #: 38




                                                                                                      Electronically Filed - City of St. Louis - July 16, 2018 - 01:06 PM
  Mr. David E. Larson, Esq.
  Martin Pringle Attorneys at Law
  11/10/2017
  Page 3


  alleges that AB Credit Union wrongfully accelerated consumer credit contracts on loans
  made to Wells and many other Missouri consumers and wrongfully repossessed their
  collateral because AB Credit Union either failed to send the right to cure notice required
  by RSMo § 408.554 (“Right to Cure Notices”) or sent defective Right to Cure Notices
  before repossession. It is further alleged that AB Credit Union sent Wells and many other
  consumers a presale notice, which did not comply with the Uniform Commercial Code
  (“UCC”) adopted by each state. It is further alleged that AB Credit Union sent Wells and
  numerous other consumers a post-sale notice, which did not comply with the UCC.

  Plaintiff complains that AB Credit Union’s failure to provide a statutorily compliant pre
  and post-sale notices is part of a pattern, or consistent with a practice, of noncompliance.
  It is further alleged that AB Credit Union sued Wells and the Missouri Subclass without
  giving the notice required by RSMo § 408.557, and sought interest, charges, and expenses
  that affected their deficiency balances, including interest, attorney’s fees and other costs of
  collection. AB Credit Union’s deficiency judgments against Wells and the Class included
  interest, charges, and expenses that affected their deficiency balances, including interest,
  attorney’s fees and other costs of collection.

  Plaintiff further complains that AB Credit Union has maintained a practice and policy of
  reporting derogatory information regarding the class members to local consumer reporting
  agencies and the three national consumer credit reporting agencies: Equifax Credit
  Information Services, Inc., Experian, Inc., and TransUnion, LLC (collectively, “CRAs”),
  despite its failure to comply with the right to cure, presale and post-sale notice
  requirements. It is also alleged that the defective right to cure, presale and post-sale notices,
  and the reporting of false or inaccurate derogatory information on the class members’ credit
  reports harmed the class members’ credit worthiness, credit standing, credit capacity,
  character, and general reputation. Further, Plaintiff alleges that the defective right to cure,
  presale and post-sale notices, and the reporting of false or inaccurate derogatory
  information on the class members’ credit reports were oral or written publication of
  material that defames, slanders or libels the class members. Also, it is alleged that the
  defective right to cure, presale and post-sale notices, and the reporting of false or inaccurate
  derogatory information on the class members’ credit reports were oral or written
  publication of material that invaded the class members’ privacy rights.

  Plaintiff attempts to certify a class, including all persons: (a) who are named as borrowers
  or buyers on a loan or financing agreement with AB Credit Union, assigned to AB Credit
  Union or owned by AB Credit Union; (b) whose loan or financing agreement was secured
  by collateral; (c) whose collateral was repossessed; and (d) whose collateral was disposed.

  Plaintiff also seeks to certify a Missouri Subclass comprises all persons within the Class:
  (a) who obtained a Missouri Certificate of Title for a motor vehicle identifying AB Credit
  Union as the lienholder, or who are named as borrowers or buyers with a Missouri address
  on a loan or financing agreement with AB Credit Union, assigned to AB Credit Union or
  owned by AB Credit Union; (b) whose loan or financing agreement was secured by a motor
     Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 35 of 51 PageID #: 39




                                                                                                    Electronically Filed - City of St. Louis - July 16, 2018 - 01:06 PM
Mr. David E. Larson, Esq.
Martin Pringle Attorneys at Law
11/10/2017
Page 4


vehicle or other collateral; (c) whose motor vehicle or other collateral was repossessed; and
(d) whose motor vehicle or other collateral was disposed.

Plaintiff asserts two causes of action, including:

(I) A Nationwide class claim alleging that AB Credit Union violated the UCC by failing
to provide the presale notice in the form and manner required under the UCC before
disposing of collateral secured by loans entered by, assigned to, or owned by AB Credit
Union. Mr. Wells and the Class claim to have suffered actual damages not less than the
minimum damages provided by § 9-625(c)(2), including: (a) loss of use of tangible
property and cost of alternative transportation; (b) loss resulting from the inability to
obtain, or increased costs of, alternative financing; (c) harm to credit worthiness, credit
standing, credit capacity, character, and general reputation; (d) harm caused by defamation,
slander and libel; (e) harm caused by invasion of privacy; and (f) other uncertain and hard-
to-quantify actual damages. Plaintiff specifically seeks relief, including certification of a
Class; an award of actual damages not less than the minimum damages provided by § 9-
625(c)(2); an award of statutory damages of $500 for each defective post-sale notice sent
or that AB Credit Union failed to send; prejudgment and post-judgment interest; Injunctive
relief, and, declaratory relief.

(II) A Missouri Subclass’ claim alleging that AB Credit Union violated, RSMo § 408.555
by wrongfully accelerating the maturity of the unpaid balance, taking possession of the
collateral or otherwise enforcing its security interest without given the proper notice
required by RSMo § 408.554. Further, it is alleged that AB Credit Union wrongfully
repossessed the collateral secured by the consumer credit contracts and caused Wells and
the Missouri Subclass the loss of use of tangible property.

Plaintiff complains that AB Credit Union’s wrongful acceleration of the maturity of the
unpaid balances under the consumer credit contracts and wrongful repossession of the
collateral secured by the consumer credit contracts renders the presale notices unreasonable
and misleading in violation of RSMo §§ 400.9-611 and 9-614(5), (6) because, among other
reasons, it misstates the payoff balance and the consumer’s redemption rights. It is alleged
that AB Credit Union did not send proper post-sale notices, or provide any other
explanation or writing, sufficient to provide notice under RSMo §§ 400.9-611, 9-614 and
9-616 prior to commencing its claim for a deficiency judgment. As a result, it is alleged
that it has violated sections §§ 408.556, 408.557, and 365.145. It is also alleged that under
§ 365.150.2, AB Credit Union’s violation of § 365.145 requires it return any time price
differential, delinquency or collection charge on the consumer credit contracts that it
collected from Wells and the Missouri Subclass. Mr. Wells and the Missouri Subclass
claim t have suffered actual damages not less than the minimum damages provided by §
400.9-625(c)(2), including:

(a) loss of use of tangible property and cost of alternative transportation; (b) loss resulting
from the inability to obtain, or increased costs of, alternative financing; (c) the surplus after
disposition of the collateral that would be equal to the proceeds of disposition less the
     Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 36 of 51 PageID #: 40




                                                                                                              Electronically Filed - City of St. Louis - July 16, 2018 - 01:06 PM
Mr. David E. Larson, Esq.
Martin Pringle Attorneys at Law
11/10/2017
Page 5


uncelebrated balance due on the consumer loan contracts and less any wrongfully charged
interest; (d) all monies paid to AB Credit Union by Wells and the Missouri Subclass for
the time price differential and delinquency and collection charges on the consumer credit
contracts; (e) harm to credit worthiness, credit standing, credit capacity, character, and
general reputation; (f) harm caused by defamation, slander and libel; (g) harm caused by
invasion of privacy; and (h) other uncertain and hard-to-quantify actual damages. Plaintiff
states that AB Credit Union did not intend to violate RSMo §§ 408.554 and 408.555 or any
of the statutes under the UCC.

In addition, Plaintiff seeks relief, including an award of actual damages, statutory damages
of $500 for each defective post-sale notice sent, prejudgment and post-judgment interest,
attorney’s fees, punitive damages, injunctive relief, and declaratory relief. Plaintiff also
states that Wells and the Missouri Subclass are entitled to attorney’s fees under RSMo §
408.562 and are entitled to punitive damages under RSMo § 408.562. AB Credit Union’s
actions were wanton, outrageous, and/or malicious because of its reckless indifference to
or conscious disregard of the consumer rights of Wells and the Missouri Subclass.

Anheuser-Busch Employees Credit Union

An answer was never filed to the Amended Answer and Counterclaim. In June of 2017,
Anheuser-Busch Employees Credit Union’s current counsel, Tom Martin of Lewis Rice,
LLC, filed a motion for leave to file an answer to the first amended complaint, out of time.
The motion was denied. In a letter to September 8, 2017, counsel for Mr. Wells asserts that
“[a]lthough class definitions have temporal limitations due to statute of limitations
defenses, AB has no statute of limitations defense because it hasn’t and cannot plead
one***” Specifically, it appears that due to the failure to answer this matter, Anheuser-
Busch Employees Credit Union has lost its ability to assert multiple affirmative defenses,
including the statute of limitations and offset.

TRAVELERS POLICY PROVISIONS

Charter Oak Fire Insurance Company provides coverage for Anheuser Busch Employee
Credit Union under its policy No. H-630-3E389749-COF-14 for the dates April 1, 2014 –
2015. The coverage includes Commercial General Liability coverage under form CG0001
(Ed. 10-01). The policy also includes forms CGD471 (Ed. 02-09), Amendment of
Coverage B – Personal and Advertising Injury Liability, form CGD409 (Ed. 04-08),
Amendment of Bodily Injury Definition, form CGD419 (Ed. 07-08), Amendment of
Property Damage Definition, and form CGD564 (Ed. 05-12), Exclusion – Professional
Credit Union Financial Services. The limits of coverage are $1 million per occurrence, $1
million personal and advertising injury liability and a $2 million general aggregate limit.1
1
 Please note that Travelers also provided several policies containing commercial general liability coverage
and umbrella excess coverage’s during the putative class period:

2016-2017
     Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 37 of 51 PageID #: 41




                                                                                                                  Electronically Filed - City of St. Louis - July 16, 2018 - 01:06 PM
Mr. David E. Larson, Esq.
Martin Pringle Attorneys at Law
11/10/2017
Page 6



Primary Coverage

Travelers policy No. H-630-3E389749-COF-16 for the dates April 1, 2016 – 2017. The coverage includes
Commercial General Liability coverage under form CG0001 (Ed. 10-01). The policy also includes forms
CGD471 (Ed. 01-15), Amendment of Coverage B – Personal and Advertising Injury Liability, form CGD409
(Ed. 04-08), Amendment of Bodily Injury Definition, form CGD419 (Ed. 07-08), Amendment of Property
Damage Definition, form CGD746 (Ed. 01-15), Exclusion – Access of Disclosure of Personal of Confidential
Information, and form CGD564 (Ed. 05-12), Exclusion – Professional Credit Union Financial Services. The
limits of coverage are $1 million per occurrence, $1 million personal and advertising injury liability and a $2
million general aggregate limit.

Umbrella Excess Coverage

Travelers policy No. HSM-CUP-3E389749-TIL-16 for the dates April 1, 2016 – 2017. The coverage includes
Commercial Excess Liability (Umbrella) coverage under form UM0001 (Ed. 07-08). The policy also includes
form UM0511 (Ed. 02-09), Amendment of Coverage – Advertising injury and Property Damage, form
UM466 (Ed. 04-08), Amendment of Bodily Injury Definition, form UM478 (Ed. 07-08), Amendment of
Property Damage Definition, form CGD650 (Ed. 01-15), Exclusion – Confidential or personal Information,
and form UM0578 (Ed. 05-12), Professional Credit Union Financial Services Exclusion. The limits of
coverage are $5 million per occurrence, $5 million personal and advertising injury liability and a $5 million
general aggregate limit. There is a $10,000 retained limit.

2015-2016

Primary Coverage

Travelers policy No. H-630-3E389749-COF-15 for the dates April 1, 2015 – 2016. The coverage includes
Commercial General Liability coverage under form CG0001 (Ed. 10-01). The policy also includes forms
CGD471 (Ed. 01-15), Amendment of Coverage B – Personal and Advertising Injury Liability, form CGD409
(Ed. 04-08), Amendment of Bodily Injury Definition, form CGD419 (Ed. 07-08), Amendment of Property
Damage Definition, form CGD746 (Ed. 01-15), Exclusion – Access of Disclosure of Personal of Confidential
Information, and form CGD564 (Ed. 05-12), Exclusion – Professional Credit Union Financial Services. The
limits of coverage are $1 million per occurrence, $1 million personal and advertising injury liability and a $2
million general aggregate limit.

Umbrella Excess Coverage

Travelers policy No. HSM-CUP-3E389749-TIL-15 for the dates April 1, 2015 – 2016. The coverage includes
Commercial Excess Liability (Umbrella) coverage under form UM0001 (Ed. 07-08). The policy also includes
form UM0511 (Ed. 02-09), Amendment of Coverage – Advertising injury and Property Damage, form
UM466 (Ed. 04-08), Amendment of Bodily Injury Definition, form UM478 (Ed. 07-08), Amendment of
Property Damage Definition, form CGD650 (Ed. 01-15), Exclusion – Confidential or personal Information,
and form UM0578 (Ed. 05-12), Professional Credit Union Financial Services Exclusion. The limits of
coverage are $5 million per occurrence, $5 million personal and advertising injury liability and a $5 million
general aggregate limit. There is a $10,000 retained limit.

2014-2015

Umbrella Excess Coverage

Travelers policy No. HSM-CUP-3E389749-TIL-15 for the dates April 1, 2015 – 2016. The coverage includes
Commercial Excess Liability (Umbrella) coverage under form UM0001 (Ed. 07-08). The policy also includes
form UM0511 (Ed. 02-09), Amendment of Coverage – Advertising injury and Property Damage, form
     Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 38 of 51 PageID #: 42




                                                                                                              Electronically Filed - City of St. Louis - July 16, 2018 - 01:06 PM
Mr. David E. Larson, Esq.
Martin Pringle Attorneys at Law
11/10/2017
Page 7



The CGL coverage form contains the following insuring agreement relating to Bodily
Injury and Property Damage Liability Coverage (Coverage A), which reads in relevant part
as follows (CG0001 (Ed. 10-01)):

SECTION I – COVERAGES
COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY

1.      Insuring Agreement

        a.       We will pay those sums that the insured becomes legally obligated to pay
                 as damages because of "bodily injury" or "property damage" to which this
                 insurance applies. We will have the right and duty to defend the insured
                 against any "suit" seeking those damages. However, we will have no duty
                 to defend the insured against any "suit" seeking damages for "bodily injury"
                 or "property damage" to which this insurance does not apply. We may, at
                 our discretion, investigate any "occurrence" and settle any claim or "suit"
                 that may result.

                                             ***
        b.       This insurance applies to "bodily injury" and "property damage" only if:

                          (1)      The "bodily injury" or "property damage" is caused by an
                                   "occurrence" that takes place in the "coverage territory";
                          (2)      The "bodily injury" or "property damage" occurs during the
                                   policy period;

Please note that certain terms are contained within quotes, which signifies that the term is
defined in the policy. We refer you to the following terms and phrases which are defined
in the policy as follows:

SECTION V – DEFINITIONS

                                                  ***
"Bodily injury"5 means:

UM466 (Ed. 04-08), Amendment of Bodily Injury Definition, form UM478 (Ed. 07-08), Amendment of
Property Damage Definition, and form UM0578 (Ed. 05-12), Professional Credit Union Financial Services
Exclusion. The limits of coverage are $5 million per occurrence, $5 million personal and advertising injury
liability and a $5 million general aggregate limit. There is a $10,000 retained limit.

As the terms of the above referenced polices are similar to those discussed above, we will not include a
separate analysis under the coverage during these policy terms. However, where there are pertinent
differences, we will note the same in a footnote.
5
 The definition of “Bodily Injury” is as defined in form CGD409 (Ed. 07-08), Amendment of Bodily
Injury Definition.
       Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 39 of 51 PageID #: 43




                                                                                                       Electronically Filed - City of St. Louis - July 16, 2018 - 01:06 PM
Mr. David E. Larson, Esq.
Martin Pringle Attorneys at Law
11/10/2017
Page 8

a. Physical harm, including sickness or disease, sustained by a person; or
b. Mental anguish, injury or illness, or emotional distress, resulting at any time from such
   physical harm, sickness or disease.

                                          ***
"Occurrence" means an accident, including continuous or repeated exposure to
substantially the same general harmful conditions.

"Property damage"6 means:

a. Physical damage to tangible property of others, including all resulting loss of use of
    that property. All such loss of use will be deemed to occur at the time of the physical
    damage that caused it; or
b. Loss of use of tangible property of others that is not physically damaged. All such loss
    of use will be deemed to occur at the time of the "occurrence" that caused it.
For the purposes of this insurance, data, including information, facts or programs in any
electronic or other format, is not tangible property.

                                        ***
In addition, Coverage “A” of the policy contains the following exclusions that maybe
applicable to this matter:

    2. Exclusions
       This insurance does not apply to:

          Expected or Intended Injury
          "Bodily injury" or "property damage" expected or intended from the standpoint of
          the insured. This exclusion does not apply to "bodily injury" resulting from the use
          of reasonable force to protect persons or property.

                                               ***

The policy also contains form CGD471 (Ed. 02-09), Amendment of Coverage B – Personal
and Adverting Injury Liability which contains the following provisions relating to Personal
Injury and Advertising Injury Liability coverage:

COVERAGE B. PERSONAL AND ADVERTISING INJURY LIABILITY

          1.    Insuring Agreement.

6
 The definition of “Property Damage” is as defined in form CGD419 (Ed. 07-08), Amendment of Property
Damage Definition.
     Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 40 of 51 PageID #: 44




                                                                                                                 Electronically Filed - City of St. Louis - July 16, 2018 - 01:06 PM
Mr. David E. Larson, Esq.
Martin Pringle Attorneys at Law
11/10/2017
Page 9


            a. We will pay those sums that the insured becomes legally obligated to pay as
               damages because of "personal injury” and “advertising injury" to which this
               insurance applies. We will have the right and duty to defend the insured
               against any "suit" seeking those damages. However, we will have no duty to
               defend the insured against any "suit" seeking damages for "personal injury
               and advertising injury" to which this insurance does not apply. * * *

           b. This insurance applies to “personal injury and advertising injury” caused by
              an offense arising out of your business but only if the offense was committed
              in the “coverage territory” during the policy period.

The policy includes the following pertinent definitions:

"Advertising injury":2


2
  Please note that the January-2015 version of form CGD436 is included on the 2015-2016 and 2016-2017
policy terms contains the following, more limited, definition of “Advertising Injury,:

"Advertising injury":
    a.   Means injury, other than "personal injury", caused by one or more of the following offenses:
         (1) Oral or written publication, including publication by electronic means, of material in your
             "advertisement" that slanders or libels a person or organization or disparages a person's or
             organization's goods, products or services, provided that the claim is made or the "suit" is
             brought by a person or organization that claims to have been slandered or libeled, or that claims
             to have had its goods, products or services disparaged;
         (2) Oral or written publication, including publication by electronic means, of material in your
             "advertisement" that:
             (a) Appropriates a person's name, voice, photograph or likeness; or
             (b) Unreasonably places a person in a false light; or
         (3) Infringement of copyright, "title" or "slogan" in your "advertisement", provided that the claim
             is made or the "suit" is brought by a person or organization that claims ownership of such
             copyright, "title" or "slogan".
         b. Includes "bodily injury" caused by one or more of the offenses described in Paragraph a. above.


In addition, the January-2015 version of form CGD437 is included on the 2015-2016 policy and contains
the following, more limited, definition of “Advertising Injury:”
"Advertising injury":
    a.   Means injury caused by the infringement of copyright, "title" or "slogan" in your "advertisement",
         provided that the claim is made or the "suit" is brought by a person or organization that claims
         ownership of such copyright, "title" or "slogan".
    b. Includes "bodily injury" caused by the offense described in Paragraph a. above.
                                                    ***
     Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 41 of 51 PageID #: 45




                                                                                                                 Electronically Filed - City of St. Louis - July 16, 2018 - 01:06 PM
Mr. David E. Larson, Esq.
Martin Pringle Attorneys at Law
11/10/2017
Page 10

    a. Means injury, other than "personal injury", caused by one or more of the following
       offenses:
       (1) Oral or written publication, including publication by electronic means, of
           material in your "advertisement" that slanders or libels a person or organization
           or disparages a person's or organization's goods, products or services, provided
           that the claim is made or the "suit" is brought by a person or organization that
           claims to have been slandered or libeled, or that claims to have had its goods,
           products or services disparaged;
       (2) Oral or written publication, including publication by electronic means, of
           material in your "advertisement" that:
           (a) Appropriates a person's name, voice, photograph or likeness;
           (b) Unreasonably places a person in a false light; or
           (c) Discloses information about a person's private life; or
       (3) Infringement of copyright, "title" or "slogan" in your "advertisement", provided
           that the claim is made or the "suit" is brought by a person or organization that
           claims ownership of such copyright, "title" or "slogan".
    b. Includes "bodily injury" caused by one or more of the offenses described in
       Paragraph a. above.

                                                      ***
                     3
"Personal injury":

3
 Please note that the January-2015 version of form CGD436 included on the 2015-2016 and 2016-2017
policy terms contains the following, more limited, definition of “Personal Injury,:

"Personal injury":
    a.   Means injury, other than "advertising injury", caused by one or more of the following offenses:
         (1) False arrest, detention or imprisonment;
         (2) Malicious prosecution;
         (3) The wrongful eviction from, wrongful entry into, or invasion of the right of private occupancy
             of a room, dwelling or premises that a person occupies, provided that the wrongful eviction,
             wrongful entry or invasion of the right of private occupancy is committed by or on behalf of
             the owner, landlord or lessor of that room, dwelling or premises;
         (4) Oral or written publication, including publication by electronic means, of material that slanders
             or libels a person or organization or disparages a person's or organization's goods, products or
             services, provided that the claim is made or the "suit" is brought by a person or organization
             that claims to have been slandered or libeled, or that claims to have had its goods, products or
             services disparaged; or
         (5) Oral or written publication, including publication by electronic means, of material that:
             (a) Appropriates a person's name, voice, photograph or likeness; or
             (b) Unreasonably places a person in a false light.
         b. Includes "bodily injury" caused by one or more of the offenses described in Paragraph a. above
     Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 42 of 51 PageID #: 46




                                                                                                              Electronically Filed - City of St. Louis - July 16, 2018 - 01:06 PM
Mr. David E. Larson, Esq.
Martin Pringle Attorneys at Law
11/10/2017
Page 11



    a. Means injury, other than "advertising injury", caused by one or more of the
       following offenses:
       (1) False arrest, detention or imprisonment;
       (2) Malicious prosecution;
       (3) The wrongful eviction from, wrongful entry into, or invasion of the right of
           private occupancy of a room, dwelling or premises that a person occupies,
           provided that the wrongful eviction, wrongful entry or invasion of the right of
           private occupancy is committed by or on behalf of the owner, landlord or lessor
           of that room, dwelling or premises;
       (4) Oral or written publication, including publication by electronic means, of
           material that slanders or libels a person or organization or disparages a person's
           or organization's goods, products or services, provided that the claim is made
           or the "suit" is brought by a person or organization that claims to have been
           slandered or libeled, or that claims to have had its goods, products or services
           disparaged; or
       (5) Oral or written publication, including publication by electronic means, of
           material that:
           (a) Appropriates a person's name, voice, photograph or likeness;
           (b) Unreasonably places a person in a false light; or
            (c) Discloses information about a person's private life.
       b. Includes "bodily injury" caused by one or more of the offenses described in
           Paragraph a. above
                                             ***

The policy also includes the following exclusion that is applicable to Coverage B;

2. Exclusions

In addition, the January-2015 version of form CGD437 is included on the 2015-2016 policy and contains
the following, more limited, definition of “Personal Injury:”

Personal injury":
    a.   Means injury caused by one or more of the following offenses:
         (1) False arrest, detention or imprisonment;
         (2) Malicious prosecution; or
         (3) The wrongful eviction from, wrongful entry into, or invasion of the right of private occupancy
             of a room, dwelling or premises that a person occupies, provided that the wrongful eviction,
             wrongful entry or invasion of the right of private occupancy is committed by or on behalf of
             the owner, landlord or lessor of that room, dwelling or premises.
    b. Includes "bodily injury" caused by one or more of the offenses described in Paragraph a. above.
     Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 43 of 51 PageID #: 47




                                                                                               Electronically Filed - City of St. Louis - July 16, 2018 - 01:06 PM
Mr. David E. Larson, Esq.
Martin Pringle Attorneys at Law
11/10/2017
Page 12

   This insurance does not apply to:
   a. Knowing Violation Of Rights Of Another
      "Personal and advertising injury" caused by or at the direction of the insured with
      the knowledge that the act would violate the rights of another and would inflict
      "personal and advertising injury".
                                         ***

   c. Material Published Or Used Prior To Policy Period
      (1) "Personal injury" or "advertising injury" arising out of oral or written
          publication, including publication by electronic means, of material whose first
          publication took place before the beginning of the policy period;***


In addition, the policy contains from CGD564 (Ed. 05-12), Professional Credit Union
Financial Services Exclusion, which excludes coverage as follows:

1. The following exclusion is added to Paragraph 2., Exclusions, of SECTION I –
   COVERAGES – COVERAGE A BODILY INJURY AND PROPERTY
   DAMAGE LIABILITY:
   Professional Credit Union Financial Services
   "Bodily injury" or "property damage" arising out of providing or failing to provide
   professional "credit union financial services" by any insured to others.
   This exclusion does not apply to:
   (1) "Bodily injury" or "property damage" arising out of any typographical error;
   (2) "Bodily injury" or "property damage" arising out of any clerical error in any deposit
       into or withdrawal from any customer's account;
   (3) "Bodily injury" to your customer, or "property damage" to property owned or used
       by your customer, that occurs while such customer is on your premises for the
       purpose of receiving professional "credit union financial services"; or
   (4) "Bodily injury" or "property damage" arising out of the act of taking possession
       of real or personal property in connection with any of the following operations or
       activities: [Emphasis Added]
       (a) Lending;
       (b) Leasing; or
       (c) Extension of credit.
2. The following exclusion is added to Paragraph 2., Exclusions, of SECTION I –
   COVERAGES – COVERAGE B PERSONAL AND ADVERTISING INJURY
   LIABILITY:
   Professional Credit Union Financial Services
   "Personal injury" or "advertising injury" arising out of providing or failing to provide
   professional "credit union financial services" by any insured to others.
   This exclusion does not apply to "personal injury" or "advertising injury" arising out of
   any:
     Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 44 of 51 PageID #: 48




                                                                                              Electronically Filed - City of St. Louis - July 16, 2018 - 01:06 PM
Mr. David E. Larson, Esq.
Martin Pringle Attorneys at Law
11/10/2017
Page 13

   (1) Typographical error; or
   (2) Clerical error in any deposit into or withdrawal from any customer's account.
3. The following is added to the DEFINITIONS Section:

    "Credit union financial services" includes:
    a. Any of the services that any insured provides or is required to provide for any
       insured's customer, including insurance services, investment services, real estate
       services, tax services, trust services and other similar services, under:
       (1) An agreement between any insured and the customer; or
       (2) A written contract or agreement between the insured and a third party in which
            any insured agrees to provide such services for the customer on behalf of the
            third party;
    b. Planning, managing, administering, advising on or acting in a fiduciary capacity for
       any deposit account;
    c. Evaluating, analyzing, administering, managing, advising on or servicing, or
       providing opinions or instructions in connection with, any of the following
       operations or activities:
       (1) Lending, leasing or extension of credit; or
       (2) Credit card or debit card;
    d. Checking or reporting of credit;
    e. Maintaining or providing information concerning any financial account, record or
       balance;
    f. Selling or issuing any travelers check, certified check, bank check, money order,
       other similar monetary instrument or money transfer; or
    g. Administering or leasing any safe deposit or lock box.
                                             ***
In addition, policy form CG0001 (Ed. 10-01) includes the following condition that is
pertinent to this matter:

2. Duties In The Event Of Occurrence, Offense, Claim Or Suit
   a. You must see to it that we are notified as soon as practicable of an "occurrence" or
      an offense which may result in a claim. To the extent possible, notice should
      include:
      (1) How, when and where the "occurrence" or offense took place;
      (2) The names and addresses of any injured persons and witnesses; and
      (3) The nature and location of any injury or damage arising out of the "occurrence"
           or offense.
   b. If a claim is made or "suit" is brought against any insured, you must:
      (1) Immediately record the specifics of the claim or "suit" and the date received;
           and
      (2) Notify us as soon as practicable.
     Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 45 of 51 PageID #: 49




                                                                                               Electronically Filed - City of St. Louis - July 16, 2018 - 01:06 PM
Mr. David E. Larson, Esq.
Martin Pringle Attorneys at Law
11/10/2017
Page 14

      You must see to it that we receive written notice of the claim or "suit" as soon as
      practicable.
   c. You and any other involved insured must:
      (1) Immediately send us copies of any demands, notices, summonses or legal
          papers received in connection with the claim or "suit";
      (2) Authorize us to obtain records and other information;
      (3) Cooperate with us in the investigation or settlement of the claim or defense
          against the "suit"; and
      (4) Assist us, upon our request, in the enforcement of any right against any person
          or organization which may be liable to the insured because of injury or damage
          to which this insurance may also apply.
   d. No insured will, except at that insured's own cost, voluntarily make a payment,
      assume any obligation, or incur any expense, other than for first aid, without our
      consent.

The policy also includes an Amendment – Non Cumulation of Each Occurrence Limits of
Liability and Non Cumulation of Personal and Advertising Injury Limit endorsement under
form CGD203 (Ed. 12-97) that limit coverage as follows:

1. Paragraph 5 of SECTION III - LIMITS OF INSURANCE, is amended to include the
   following:
   Non cumulation of Each Occurrence Limit - If one "occurrence" causes "bodily injury"
   and/or "property damage" during the policy period and during the policy period of one
   or more prior and/or future policies that include a commercial general liability coverage
   part for the insured issued by us or any affiliated insurance company, the amount we
   will pay is limited. This policy's Each Occurrence Limit will be reduced by the amount
   of each payment made by us and any affiliated insurance company under the other
   policies because of such "occurrence".

2. Paragraph 4 of SECTION III - LIMITS OF INSURANCE, is amended to include the
   following:
   Non cumulation of Personal and Advertising Limit - If "personal injury" and/or
   "advertising injury" is sustained by any one person or organization during the policy
   period and during the policy period of one or more prior and/or future policies that
   include a commercial general liability coverage part for the insured issued by us or any
   affiliated insurance company, the amount we will pay is limited. This policy's Personal
   Injury and Advertising Injury Limit will be reduced by the amount of each payment
   made by us and any affiliated insurance company under the other policies because of
   such "personal injury" and/or "advertising injury".

                                          ***
       Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 46 of 51 PageID #: 50




                                                                                                  Electronically Filed - City of St. Louis - July 16, 2018 - 01:06 PM
Mr. David E. Larson, Esq.
Martin Pringle Attorneys at Law
11/10/2017
Page 15


COVERAGE ANALYSIS

Travelers’ position, as discussed below, is that there are no allegations in the Complaint
that present any potential for coverage. Travelers’ agreement to defend Anheuser-Busch
Employees Credit Union does not mean that Travelers has or will have a duty to indemnify
Anheuser-Busch Employees Credit Union for any damages for which it may be liable.
Travelers’ decision to provide a defense to Anheuser-Busch Employees Credit Union is
subject to a full reservation of rights. Travelers’ coverage determination is based on the
information made available to date, and Travelers reserves its right to modify or
supplement its coverage position based on additional information that it may obtain in the
future. If you have any additional information that you believe could affect Travelers’
coverage analysis, please provide it to me immediately. Travelers reserves its rights on the
following issues:

       Travelers has been substantially prejudiced by the non-compliance with your notice
        and reporting obligations under the Policy. Those duties are set forth in full, above
        (see paragraph 2 of SECTION IV COMMERCIAL GENERAL LIABILITY
        CONDITIONS). Travelers is still attempting to assess the full scope of the
        problems caused by that breach. At this time, as you are aware, the initial Answer
        and Counterclaim in this matter was filed on April of 2016. However, Travelers
        only received notice of this claim in late September 2017. By that time Anheuser-
        Busch Employees Credit Union and it counsel already had neglected to file an
        answer to Plaintiffs Amended Counterclaim resulting in the loss of several
        significant affirmative defenses. It also appears that the Anheuser-Busch
        Employees Credit Union engaged in some level of settlement discussions with the
        Plaintiff without notice to, much less participation of, Travelers prior to the tender
        to Travelers. As you can see from paragraph 2 in the Conditions section of the
        policy, Anheuser-Busch Employees Credit Union was required, among other
        things, to see to it that we received written notice of the claim or "suit" as soon as
        practicable, immediately send us copies of any demands, notices, summonses or
        legal papers served in connection with any “suit,” cooperate with us in our
        investigation, and refrain from voluntarily making any payment, assume any
        obligation or incur any expense, without Travelers’ consent. Those conditions
        have been violated and Travelers has been notified only after your counsel failed to
        timely respond to pleadings resulting in loss of important defenses which would
        have had a significant impact on both liability and damages. Travelers has been
        prejudiced substantially by the breaches of those conditions by Anheuser-Busch
        Employees Credit Union. Though Travelers has agreed to provide a defense, now
        that Travelers has notice of the suit, Travelers reserves its right to decline coverage
        based on the extensive breaches by Anheuser-Busch Employees Credit Union of
        the Policy’s notice and reporting conditions as well as possibly the conditions
        regarding voluntary payments and assumption of obligations.
       Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 47 of 51 PageID #: 51




                                                                                                  Electronically Filed - City of St. Louis - July 16, 2018 - 01:06 PM
Mr. David E. Larson, Esq.
Martin Pringle Attorneys at Law
11/10/2017
Page 16


       In order for coverage to apply under Coverage A of the policy, the claim must seek
        damages because of “Bodily Injury” or “Property Damage” caused by an
        “Occurrence.” The claim for wrongful repossession of collateral does not present a
        claim for “property damage” within the meaning of the policy nor does the putative
        class seek damages because of “property damage.” Moreover to the extent there
        was any “property damage” that may have been sustained, such damage was not
        the result of an “Occurrence,” and in any event is excluded under the Expected or
        Intended Injury exclusion as AB Credit Union is alleged to have intended both the
        act that caused the harm alleged (the repossession of collateral) and the harm itself.

       There does not appear to be a claim under the policy’s “Advertising Injury”
        coverage grant as there is specifically no claim alleging advertising activity
        conducted by Anheuser-Busch Employees Credit Union and involving an
        enumerated “Advertising Injury Offense.”

       Plaintiff’s allegation that Anheuser-Busch Employees Credit Union has committed
        defamation, libel, slander and invasion of privacy may constitute “Personal Injury,”
        under the pre-2015 definition of “Personal Injury.” However, under the definition
        of the post 2015 definition, the allegation of invasion of privacy does not appear to
        fall within the definition of “Personal Injury.” In addition, the policy excludes
        “Personal Injury” and “Advertising Injury" caused by or at the direction of the
        insured with the knowledge that the act would violate the rights of another and
        would inflict “Personal Injury” and “Advertising Injury" that may apply.

       In order for coverage to apply under either coverage “A” or coverage “B” of the
        Travelers policy, the damage or offense that takes place must occur or be committed
        during the policy period of a Travelers policy. As noted above, the Travelers
        policies were in effect from April 1, 2014 to April 1, 2017. Plaintiffs’ counsel has
        taken the position that “[a]lthough class definitions have temporal limitations due
        to statute of limitations defenses, [Anheuser-Busch Employees Credit Union] has
        no statute of limitations defense because it hasn’t and cannot plead one***” In
        addition, Plaintiff states that the claims are based upon Anheuser-Busch Employees
        Credit Union’s presale notice to class members from July 1, 2001. Therefore, the
        class period includes dates pre-dating the inception date of the first Travelers
        policy. In the event there were a claim seeking “Bodily Injury,” “Property
        Damage,” “Personal Injury,” or “Advertising Injury”, caused by an “occurrence”
        or offense that takes place or is committed prior to the inception of the Travelers
        policy the Travelers coverage would be inapplicable.

       In addition, as noted above, the putative class period extends prior to the inception
        of the first Travelers policy. The policy excludes "Personal Injury" or "Advertising
        Injury" arising out of oral or written publication, including publication by electronic
        means, of material whose first publication took place before the beginning of the
        policy period. It appears to be alleged that the notices in question were first sent
Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 48 of 51 PageID #: 52




                                                                                                 Electronically Filed - City of St. Louis - July 16, 2018 - 01:06 PM
  Mr. David E. Larson, Esq.
  Martin Pringle Attorneys at Law
  11/10/2017
  Page 17


         prior to the inception of the first Travelers policy period, therefore, in the event
         there is "Personal Injury" or "Advertising Injury," coverage may be precluded
         under the Material Published or Used Prior to Policy Period exclusion.

        The policy includes a Professional Credit Union Financial Services Exclusion
         which excludes coverage for “bodily injury”, “property damage”, "personal injury"
         or "advertising injury" arising out of providing or failing to provide professional
         "credit union financial services" by any insured to others. The definition of "credit
         union financial services" includes among other things “(c) evaluating, analyzing,
         administering, managing, advising on or servicing, or providing opinions or
         instructions in connection with, lending, leasing or extension of credit; (d)
         [c]hecking or reporting of credit; or (e) [m]aintaining or providing information
         concerning any financial account, record or balance.” Here all of injuries claimed
         arose from AB Credit Union’s conduct in providing or failing to provide such
         “credit union financial services.” Therefore, any “Property Damage” or “Personal
         Injury” in this matter is excluded under the Professional Credit Union Financial
         Services Exclusion

        The Answer and Counterclaim seeks punitive damages as well as injunctive and
         other declaratory relief. The policy does not cover punitive damages as such
         damages are not compensatory and therefore not damages because of “bodily
         injury, “property damage,” “advertising injury” or “personal injury.” In addition,
         punitive damages are not insurable as a matter of state law as against public policy.
         Similarly, the policy provides no coverage for injunctive and declaratory relief
         because none of those are damages under the policy.

        The putative class period potentially extends across multiple policy periods.
         Therefore coverage for “Bodily Injury,” “Property Damage,” “Personal Injury,” of
         “Advertising Injury,” if applicable may be reduced or limited through operation of
         the above cited Non Cumulation of Each Occurrence Limits of Liability and Non
         Cumulation of Personal and Advertising Injury Limit endorsement.

        Travelers reserves its right to the extent permitted by Missouri law to deny coverage
         and withdraw from the defense of this matter after providing proper notice.

        Travelers expressly reserves all of its rights, contractual, quasi-contractual and/or
         otherwise, to seek an allocation of defense fees and costs between covered and non-
         covered claims and to seek reimbursement of all defense fees and costs paid on
         Anheuser-Busch Employees Credit Union’s behalf, to the extent permitted by
         Missouri law, in connection with the defense of any and all non-covered claims.

        Travelers also expressly reserves all of its rights, contractual, quasi-contractual
         and/or otherwise, to seek reimbursement from Anheuser-Busch Employees Credit
       Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 49 of 51 PageID #: 53




                                                                                                   Electronically Filed - City of St. Louis - July 16, 2018 - 01:06 PM
Mr. David E. Larson, Esq.
Martin Pringle Attorneys at Law
11/10/2017
Page 18


        Union, to the extent permitted by Missouri law, for any amount paid by Travelers,
        by way of settlement or judgment, for any and all non-covered claims.

       Travelers reserves the right to seek a judicial determination in this matter.

DEFENSE COVERAGE

As discussed above, Travelers has agreed to participate in the defense of Anheuser-Busch
Employees Credit Union. Its obligations are limited to the reasonable and necessary defense
fees and costs incurred in connection with the defense of Anheuser-Busch Employees Credit
Union in connection with this matter. It is our understanding that Anheuser-Busch
Employees Credit Union has retained attorney Tom Martin of the Lewis and Rice law firm
to defend its interests in this matter.

Travelers will pay only post-tender defense costs. It appears that this claim was tendered to
Travelers on or about September 28, 2017. Please note that Defense costs include only fees
incurred for the defense of Anheuser-Busch Employees Credit Union in connection with the
claim brought by Mr. Wells and the putative class and do not include fees related to coverage
matters or other corporate matters. Disbursements are paid at the actual out-of-pocket cost,
with no law firm surcharge. Additional information regarding disbursements is contained in
the Travelers billing Requirements, a copy of which accompanies this letter. These Guidelines
explain how Travelers evaluates the reasonableness of legal fees and disbursements billed
by defense counsel.

CONCLUSION

This coverage determination is based on information that has been made available to date.
Travelers reserves its right to modify or supplement this coverage communication based
on additional information obtained or received. If you have any other information that you
believe may affect our coverage determination, please feel forward such information to me
immediately.

Please note that nothing contained in this letter shall be construed as a waiver of the terms or
conditions of the Travelers policies. Travelers specifically reserves the right to rely on any
policy term, condition, provision or exclusion or any other ground that may be subsequently
found to limit or preclude coverage. Please note that other policy terms, conditions,
limitations, and/or exclusions may apply to this claim, even if not specifically addressed in
this letter.

Based upon the information we have been provided to date Anheuser-Busch Employees
Credit Union likely faces a substantial uncovered claim. It is our recommendation that
Anheuser-Busch Employees Credit Union be certain that it has put all potential insurance
carriers on notice.
Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 50 of 51 PageID #: 54




                                                                                              Electronically Filed - City of St. Louis - July 16, 2018 - 01:06 PM
  Mr. David E. Larson, Esq.
  Martin Pringle Attorneys at Law
  11/10/2017
  Page 19


  If you have any questions, please feel free to contact me at (651) 310-7456 direct-dial /
  (866) 608-9633 fax. We will look forward to working with you on the defense of this
  matter.

  Sincerely,

  CHARTER OAK FIRE INSURANCE COMPANY
  TRAVELERS PROPERTY CASUALTY COMPANY OF AMERICA


  By___________________________________________
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Case: 4:18-cv-01208-CDP Doc. #: 1-1 Filed: 07/23/18 Page: 51 of 51 PageID #: 55




                                                                                  Electronically Filed - City of St. Louis - July 16, 2018 - 01:06 PM
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